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Proposed Counsel to the Debtors and Debtors in
Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                               )
 In re:                                                        )        Chapter 11
                                                               )
 NINE WEST HOLDINGS, INC., et al.,1                            )        Case No. 18-10947 (SCC)
                                                               )
                                     Debtors.                  )        (Jointly Administered)
                                                               )


                         DEBTOR KASPER GROUP LLC’S SCHEDULES
                        OF ASSETS AND LIABILITIES (CASE NO. 18-10949)




 1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Nine West Holdings, Inc. (7645); Jasper Parent LLC (4157); Nine West Management Service LLC
     (4508); Kasper Group LLC (7906); Kasper U.S. Blocker LLC (2390); Nine West Apparel Holdings LLC (3348);
     Nine West Development LLC (2089); Nine West Distribution LLC (3029); Nine West Jeanswear Holding LLC
     (7263); One Jeanswear Group Inc. (0179); and US KIC Top Hat LLC (3076). The location of the Debtors’
     service address is: 1411 Broadway, New York, New York 10018.
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Proposed Counsel to the Debtors and Debtors in
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                               )
    In re:                                                     )        Chapter 11
                                                               )
    NINE WEST HOLDINGS, INC., et al., 1                        )        Case No. 18-10947 (SCC)
                                                               )
                                       Debtors.                )        (Jointly Administered)
                                                               )

     GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY, AND
      DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES OF ASSETS AND
            LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

        The above-captioned debtors and debtors in possession (collectively, the “Debtors”) have
filed their respective Schedules of Assets and Liabilities (the “Schedules”) and Statements of
Financial Affairs (the “Statements”) in the United States Bankruptcy Court for the Southern
District of New York (the “Bankruptcy Court”). The Debtors, with the assistance of their legal
and financial advisors, prepared the Schedules and Statements in accordance with section 521 of
title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), and Rule
1007 of the Federal Rules of Bankruptcy Procedure.

        Ralph Schipani has signed each set of Schedules and Statements. Mr. Schipani serves as
President and Interim Chief Executive Officer of Debtor Nine West Holdings, Inc. and he is an
authorized signatory for each of the Debtors in these chapter 11 cases. In reviewing and signing
the Schedules and Statements, Mr. Schipani has necessarily relied upon the efforts, statements,
advice, and representations of personnel of the Debtors and their legal and financial advisors. In

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     (4508); Kasper Group LLC (7906); Kasper U.S. Blocker LLC (2390); Nine West Apparel Holdings LLC (3348);
     Nine West Development LLC (2089); Nine West Distribution LLC (3029); Nine West Jeanswear Holding LLC
     (7263); One Jeanswear Group Inc. (0179); and US KIC Top Hat LLC (3076). The location of the Debtors’ service
     address is: 1411 Broadway, New York, New York 10018.




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light of the size and complexity of the Debtors’ business, Mr. Schipani has not (and could not
have) personally verified the accuracy of each such statement and representation, including, but
not limited to, statements and representations concerning amounts owed to creditors.

       In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made every reasonable effort to ensure the accuracy and completeness of the
Schedules and Statements, subsequent information or discovery may result in material changes to
the Schedules and Statements. As a result, inadvertent errors or omissions may exist. Accordingly,
the Debtors and their agents, attorneys, and financial advisors do not guarantee or warrant the
accuracy or completeness of the data that is provided herein and shall not be liable for any loss or
injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating, or delivering the information contained in the Schedules and Statements.

        For the avoidance of doubt, the Debtors reserve their rights to amend and supplement the
Schedules and Statements as may be necessary or appropriate but expressly do not undertake any
obligation to update, modify, revise, or re-categorize the information provided in the Schedules
and Statements or to notify any third party should the information be updated, modified, revised,
or re-categorized, except as required by applicable law or order of the Bankruptcy Court.

       In no event shall the Debtors or their directors, officers, agents, attorneys, and financial
advisors be liable to any third party for any direct, indirect, incidental, consequential, or special
damages (including, but not limited to, damages arising from the disallowance of a potential claim
against the Debtors or damages to business reputation, lost business, or lost profits), whether
foreseeable or not and however caused, even if the Debtors or their directors, officers, agents,
attorneys, or financial advisors are advised of the possibility of such damages.

                          Global Notes and Overview of Methodology

1.      Description of Cases. On April 6, 2018 (the “Petition Date”), each of the Debtors filed
        voluntary petitions for relief under chapter 11 of the Bankruptcy Code. The Debtors are
        operating their businesses and managing their property as debtors in possession pursuant
        to sections 1107(a) and 1108 of the Bankruptcy Code. These cases are being jointly
        administered. Notwithstanding the joint administration of the Debtors’ cases for
        procedural purposes, each Debtor has filed its own Schedules and Statements. The
        information provided herein, except as otherwise noted, is reported as of the close of
        business on the Petition Date.

2.      Global Notes Control. These Global Notes pertain to and comprise an integral part of
        each of the Schedules and Statements and should be referenced in connection with any
        review thereof. In the event that the Schedules and Statements conflict with these Global
        Notes, these Global Notes shall control.

3.      Reservations and Limitations. Reasonable efforts have been made to prepare and file
        complete and accurate Schedules and Statements; however, as noted above, inadvertent
        errors or omissions may exist. The Debtors reserve all rights to amend and supplement the


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        Schedules and Statements as may be necessary or appropriate. Nothing contained in the
        Schedules and Statements constitutes a waiver of any of the Debtors’ rights or an admission
        of any kind with respect to these chapter 11 cases, including, but not limited to, any rights
        or claims of the Debtors against any third party or issues involving substantive
        consolidation, equitable subordination, or defenses or causes of action arising under the
        provisions of chapter 5 of the Bankruptcy Code or any other relevant applicable bankruptcy
        or non-bankruptcy laws to recover assets or avoid transfers. Any specific reservation of
        rights contained elsewhere in the Global Notes does not limit in any respect the general
        reservation of rights contained in this paragraph.

        (a)    No Admission. Nothing contained in the Schedules and Statements is intended or
               should be construed as (i) an admission or stipulation of the validity of any claim
               against the Debtors or any assertion made therein or herein or (ii) a waiver of the
               Debtors’ rights to dispute any claim or assert any cause of action or defense against
               any party.

        (b)    Recharacterization and Classifications. Notwithstanding that the Debtors have
               made reasonable efforts to correctly characterize, classify, categorize, or designate
               certain claims, assets, executory contracts, unexpired leases, and other items
               reported in the Schedules and Statements, the Debtors nonetheless may have
               improperly characterized, classified, categorized, or designated certain items. The
               Debtors reserve all rights to recharacterize, reclassify, recategorize, or redesignate
               items reported in the Schedules and Statements at a later time as is necessary and
               appropriate.

               For the avoidance of doubt, listing (i) a claim on Schedule D as “secured,” (ii) a
               claim on Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule
               G as “executory” or “unexpired” does not constitute an admission by the Debtors
               of the legal rights of the claimant or contract counterparty or a waiver of the
               Debtors’ rights to recharacterize or reclassify such claim or contract.

        (c)    Claims Description. Any failure to designate a claim on the Schedules and
               Statements as “disputed,” “contingent,” or “unliquidated” does not constitute an
               admission by the Debtors that such amount is not “disputed,” “contingent,” or
               “unliquidated.” Each Debtor reserves all rights to dispute, or assert offsets or
               defenses to, any claim reflected on its respective Schedules and Statements on any
               grounds, including, without limitation, liability or classification, or to otherwise
               subsequently designate such claims as “disputed,” “contingent,” or “unliquidated”
               or object to the extent, validity, enforceability, priority, or avoidability of any claim.
               Moreover, listing a claim does not constitute an admission of liability by the
               Debtors against which the claim is listed or by any of the Debtors. The Debtors
               reserve all rights to amend their Schedules and Statements as necessary and
               appropriate, including, but not limited to, with respect to claim description and
               designation.

        (d)    Estimates and Assumptions. The preparation of the Schedules and Statements
               required the Debtors to make reasonable estimates and assumptions with respect to


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               the reported amounts of assets and liabilities, the amount of contingent assets and
               contingent liabilities on the date of the Schedules and Statements, and the reported
               amounts of revenues and expenses during the applicable reporting periods. Actual
               results could differ from such estimates.

        (e)    Causes of Action. Despite reasonable efforts, the Debtors may not have identified
               all current and potential causes of action the Debtors may have against third parties
               in their respective Schedules and Statements, including, without limitation,
               avoidance actions arising under chapter 5 of the Bankruptcy Code and actions under
               other relevant bankruptcy and non-bankruptcy laws to recover assets. The Debtors
               reserve all rights with respect to any causes of action, and nothing in these Global
               Notes or the Schedules and Statements should be construed as a waiver of any such
               causes of action.

        (f)    Intellectual Property Rights. Exclusion of certain intellectual property should not
               be construed as an admission that such intellectual property rights have been
               abandoned, have been terminated or otherwise expired by their terms, or have been
               assigned or otherwise transferred pursuant to a sale, acquisition, or other
               transaction. Conversely, inclusion of certain intellectual property rights should not
               be construed as an admission that such intellectual property rights have not been
               abandoned, have not been terminated or otherwise expired by their terms, or have
               not been assigned or otherwise transferred pursuant to a sale, acquisition, or other
               transaction.

        (g)    Insiders. In the circumstance where the Schedules and Statements require
               information regarding “insiders,” the Debtors have included information with
               respect to certain individuals who the Debtors believe may be included in the
               definition of “insider” set forth in section 101(31) of the Bankruptcy Code during
               the relevant time periods. Such individuals may no longer serve in such capacities.
               In the interest of additional disclosure, the Debtors have also included certain
               individuals who may have officer titles in their responses to Statements, Part 13,
               Question 28.

               The listing of a party as an insider for purposes of the Schedules and Statements is
               not intended to be, nor should it be, construed as an admission of any fact, right,
               claim, or defense, and all such rights, claims, and defenses are hereby expressly
               reserved. Information regarding the individuals listed as insiders in the Schedules
               and Statements has been included for informational purposes only and such
               information may not be used for (1) the purposes of determining (i) control of the
               Debtors, (ii) the extent to which any individual exercised management
               responsibilities or functions or corporate decision-making authority over the
               Debtors, or (iii) whether such individual could successfully argue that he or she is
               not an insider under applicable law, including the Bankruptcy Code and federal
               securities laws, or with respect to any theories of liability or (2) any other purpose.




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4.      Methodology.

        (a)    Basis of Presentation. The Schedules and Statements do not purport to represent
               financial statements prepared in accordance with Generally Accepted Accounting
               Principles in the United States (“GAAP”), nor are they intended to be fully
               reconciled to the financial statements of each Debtor. The Schedules and
               Statements contain unaudited information that is subject to further review and
               potential adjustment. The Schedules and Statements reflect the Debtors’
               reasonable efforts to report the assets and liabilities of each Debtor on an
               unconsolidated basis.

        (b)    Confidential Information. There may be instances in the Schedules and
               Statements where the Debtors deemed it necessary and appropriate to redact from
               the public record information such as names, addresses, or amounts. Typically, the
               Debtors have used this approach because of a confidentiality agreement between
               the Debtors and a third party, for the protection of sensitive commercial
               information, or for the privacy of an individual.

        (c)    Umbrella or Master Agreements. Contracts and leases listed in the Schedules
               and Statements may be umbrella or master agreements that cover relationships with
               some or all of the Debtors. Where relevant, such agreements have been listed in
               the Schedules and Statements only of the Debtor entity that signed the original
               umbrella or master agreement. Other Debtors, however, may be liable together
               with such Debtor on account of such agreements and the Debtors reserve all rights
               to amend the Schedules and Statements to reflect changes regarding the liability of
               the Debtors with respect to such agreements, if appropriate.

        (d)    Executory Contracts. Although the Debtors have made diligent attempts to
               attribute an executory contract to its rightful Debtor, in certain instances, the
               Debtors may have inadvertently failed to do so due to the complexity and size of
               the Debtors’ businesses. Accordingly, the Debtors reserve all of their rights with
               respect to the named parties of any and all executory contracts, including the right
               to amend Schedule G.

               The contracts, agreements, and leases listed on Schedule G may have expired or
               may have been modified, amended, or supplemented from time to time by various
               amendments, restatements, waivers, estoppel certificates, letters, memoranda, and
               other documents, instruments, and agreements that may not be listed therein despite
               the Debtors’ use of reasonable efforts to identify such documents. Further, unless
               otherwise specified on Schedule G, each executory contract or unexpired lease
               listed thereon shall include all final exhibits, schedules, riders, modifications,
               declarations, amendments, supplements, attachments, restatements, or other
               agreements made directly or indirectly by any executed agreement, instrument, or
               other document that in any manner affects such executory contract or unexpired
               lease, without respect to whether such agreement, instrument, or other document is
               listed thereon.



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        (e)    Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
               may properly be disclosed in multiple parts of the Statements and Schedules. To
               the extent these disclosures would be duplicative, the Debtors have determined to
               only list such assets, liabilities, and prepetition payments once.

        (f)    Net Book Value. In certain instances, current market valuations for individual
               items of property and other assets are neither maintained by nor readily available
               to the Debtors. Accordingly, unless otherwise indicated, the Schedules and
               Statements reflect net book values as of April 7, 2018. Market values may vary, at
               some times materially, from net book values. The Debtors believe that it would be
               an inefficient use of estate assets for the Debtors to obtain the current market values
               of their property and other assets. Accordingly, the Debtors have indicated in the
               Schedules and Statements that the market values of certain assets and liabilities are
               undetermined. Assets that have been fully depreciated or that were expensed for
               accounting purposes either do not appear in these Schedules and Statements or are
               listed with a zero-dollar value, as such assets have no net book value. The omission
               of an asset from the Schedules and Statements does not constitute a representation
               regarding the ownership of such asset, and any such omission does not constitute a
               waiver of any rights of the Debtors with respect to such asset.

        (g)    Undetermined Amounts. The description of an amount as “undetermined” is not
               intended to reflect upon the materiality of such amount.

        (h)    Unliquidated Amounts. Amounts that could not be fairly quantified by the
               Debtors are scheduled as “unliquidated.”

        (i)    Totals. All totals that are included in the Schedules and Statements represent totals
               of all known amounts. To the extent there are unknown or undetermined amounts,
               the actual total may be different from the listed total.

        (j)    Property and Equipment. The Debtors may lease furniture, fixtures, and
               equipment from certain third-party lessors. Any such leases are listed in the
               Schedules and Statements. Nothing in the Schedules and Statements is, or should
               be construed as, an admission as to the determination of the legal status of any lease
               (including whether any lease is a true lease or a financing arrangement), and the
               Debtors reserve all rights with respect thereto.

        (k)    Allocation of Liabilities. The Debtors allocated liabilities between the prepetition
               and postpetition periods based on the information and research conducted in
               connection with the preparation of the Schedules and Statements. As additional
               information becomes available and further research is conducted, the allocation of
               liabilities between the prepetition and postpetition periods may change.

        (l)    Paid Claims. The Debtors have authority to pay certain outstanding prepetition
               payables pursuant to Bankruptcy Court orders, including the Final Order
               (A) Authorizing the Debtors to Pay Certain Prepetition Claims of Critical Vendors
               and (B) Granting Related Relief [Docket No. 215] (the “Critical Vendors Order”)


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               and the Final Order (I) Authorizing the Debtors to Pay Prepetition Claims of
               (A) Foreign Vendors, (B) Lien Claimants, (C) Import Claimants, and
               (D) 503(B)(9) Claimants and (II) Granting Related Relief [Docket No. 214]
               (the “Foreign Vendors and 503(b)(9) Order”). As such, outstanding liabilities may
               have been reduced by any court-approved postpetition payments made on account
               of prepetition payables. Where and to the extent these liabilities have been satisfied
               as of the date hereof, they are not listed in the Schedules and Statements. In some
               instances, the Debtors have the authority to pay a prepetition liability but that
               amount remains unpaid or is partially paid as of the filing of the Schedules. In such
               cases, these amounts are marked as “contingent.” To the extent the Debtors later
               pay any amount of the claims listed in the Schedules and Statements pursuant to
               any orders entered by the Bankruptcy Court, the Debtors reserve all rights to amend
               or supplement the Schedules and Statements or to take other action, such as filing
               claims objections, as is necessary and appropriate to avoid overpayment or
               duplicate payments for liabilities. Nothing contained herein should be deemed to
               alter the rights of any party in interest to contest a payment made pursuant to an
               order of the Bankruptcy Court where such order preserves the right to contest.

        (m)    Credits and Adjustments. The claims of individual creditors for, among other
               things, goods, products, services, or taxes are listed as the amounts entered on the
               Debtors’ books and records and may either (a) not reflect credits or other
               adjustments due from such creditors to the Debtors or (b) be net of accrued credits
               or other adjustments that are actually owed by a creditor to the Debtors on a
               postpetition basis on account of such credits or other adjustments earned from
               prepetition payments and critical vendor payments, if applicable. The Debtors
               reserve all of their rights with regard to such credits or other adjustments, including,
               but not limited to, the right to modify the Schedules, assert claims objections and/or
               setoffs with respect to the same, or apply such adjustments in the ordinary course
               of business on a postpetition basis.

        (n)    Intercompany Claims. Receivables and payables among the Debtors are reported
               on Schedule A/B and Schedule E/F, respectively. The listing of any amounts with
               respect to such receivables and payables is not, and should not be construed as, an
               admission of the characterization of such balances as debt, equity, or otherwise.
               For the avoidance of doubt, the Debtors reserve all rights, claims, and defenses in
               connection with any and all intercompany receivables and payables, including with
               respect to the characterization of intercompany claims, loans, and notes.

               Beginning in August 2017, the Debtors implemented a new method for tracking
               intercompany transactions, which among other things, utilizes new general ledger
               accounts to track intercompany transfers on an entity-by-entity basis by trading
               partner. The method used prior to August 2017 tracked intercompany transactions
               on a consolidated (as opposed to entity-by-entity) basis, and, as a result, existing
               intercompany balances did not carry forward to the new intercompany general
               ledger accounts. The Debtors, through an exhaustive process which involved the
               assistance of their financial advisors, analyzed transaction-level intercompany
               claims in order to ascertain entity-by-entity intercompany balances as of

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               December 31, 2017. These December 31, 2017, balances, along with entity-by-
               entity payment activity on the Debtors’ books and records from January 1, 2018, to
               the Petition Date, were used to develop the receivables and payables on Schedule
               A/B and Schedule E/F, respectively, and the Debtors believe the information
               provided on these Schedules is as accurate as possible under the circumstances.

               In addition, intercompany transactions, including cash transfers and journal entries,
               number in the tens of thousands over the time period from August 2017 through the
               Petition Date. To maximize the utility of the Debtors’ response to the Statements,
               Part 2, Question 4, the Debtors have provided summary matrices reflective of
               historical month-to-month activity between legal entities on a month-to-month
               basis from August 2017 to April 7, 2018. The Debtors believe that attempting to
               segregate historical records in order demonstrate this information for the four
               months prior to August 2017 would be unduly time consuming and costly.

        (o)    Guarantees and Other Secondary Liability Claims. The Debtors have exercised
               reasonable efforts to locate and identify guarantees of their executory contracts,
               unexpired leases, secured financings, and other such agreements. Where
               guarantees have been identified, they have been included in the relevant Schedules
               G and H for the affected Debtor. The Debtors may have inadvertently omitted
               guarantees embedded in their contractual agreements and may identify additional
               guarantees as they continue to review their books, records, and contractual
               agreements. The Debtors reserve their rights, but are not required, to amend the
               Schedules and Statements if additional guarantees are identified.

        (p)    Excluded Assets and Liabilities. The Debtors have potentially excluded the
               following categories of assets and liabilities from the Schedules and Statements:
               certain deferred charges, accounts, or reserves recorded only for purposes of
               complying with the requirements of GAAP; deferred tax assets and liabilities;
               certain intangibles; deferred revenue accounts; and certain accrued liabilities.
               Other immaterial assets and liabilities may also have been excluded.

        (q)    Liens. The inventories, property, and equipment listed in the Schedules and
               Statements are presented without consideration of any liens.

        (r)    Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.
               To the extent any amounts had to be converted to U. S. dollars, the conversion rate
               used was as of April 6, 2018.

        (a)    Controlling Shareholders. For purposes of the Schedules and Statements, the
               Debtors define “controlling shareholders” to include entities that directly hold in
               excess of 20% of the voting shares of the applicable Debtor entity. Entities listed
               as “controlling shareholders” have been included for informational purposes only.
               The Debtors do not take any position with respect to such entity’s influence over
               the control of the Debtors or whether such entity could successfully argue that it is
               not a “controlling shareholder” under applicable law, including the federal
               securities laws, or with respect to any theories of liability or for any other purpose.


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        (b)    Setoffs. The Debtors routinely incur setoffs and net payments in the ordinary
               course of business. Such setoffs and nettings may occur due to a variety of
               transactions or disputes including, but not limited to, intercompany transactions,
               counterparty settlements, pricing discrepancies, credits, rebates, returns, refunds,
               and negotiations and/or disputes between the Debtors and their customers and/or
               suppliers. These normal, ordinary course setoffs and nettings are common to the
               industry. Due to the voluminous nature of setoffs and nettings, it would be unduly
               burdensome and costly for the Debtors to list each such transaction. Therefore,
               although such setoffs and other similar rights may have been accounted for when
               scheduling certain amounts, these ordinary course setoffs are not independently
               accounted for and, as such, are or may be excluded from the Schedules and
               Statements. In addition, some amounts listed in the Schedules and Statements may
               have been affected by setoffs or nettings by third parties of which the Debtors are
               not yet aware and/or of which the Debtors have approved to effectuate in the claims
               process of their chapter 11 cases. The Debtors reserve all rights to challenge any
               setoff and/or recoupment rights that may be asserted.

5.      Specific Schedules Disclosures.

        (a)    Schedule A/B, Parts 1 and 2 – Cash and Cash Equivalents; Deposits and
               Prepayments. Details with respect to the Debtors’ cash management system and
               bank accounts are provided in the Debtors’ Motion for Entry of Interim and Final
               Orders (I) Authorizing the Debtors to (A) Continue to Operate Their Cash
               Management System, (B) Honor Certain Prepetition Obligations Related Thereto,
               (C) Maintain Existing Business Forms, and (D) Continue to Perform Intercompany
               Transactions, and (II) Granting Related Relief [Docket No. 7] (the “Cash
               Management Motion”) and the interim order of the Bankruptcy Court granting the
               Cash Management Motion [Docket No. 69].

               The Debtors’ cash balances are as of April 7, 2018.

               Additionally, the Bankruptcy Court, pursuant to the Final Order (A) Prohibiting
               Utility Providers from Altering, Refusing, or Discontinuing Utility Services,
               (B) Determining Adequate Assurance of Payment for Future Utility Services,
               (C) Establishing Procedures for Determining Adequate Assurance of Payment, and
               (D) Granting Related Relief [Docket No. 171], has authorized the Debtors to
               provide adequate assurance of payment for future utility services, including an
               initial deposit in the amount of $178,000. Such deposit is not listed on Schedule
               A/B, Part 2, which has been prepared as of the Petition Date.

        (b)    Schedule A/B, Part 4 – Investments; Non-Publicly Traded Stock and Interests
               in Incorporated and Unincorporated Businesses, including any Interest in an
               LLC, Partnership, or Joint Venture. Ownership interests in subsidiaries,
               partnerships, and joint ventures have been listed in Schedule A/B, Part 4, as
               undetermined amounts on account of the fact that the fair market value of such
               ownership is dependent on numerous variables and factors and may differ
               significantly from their net book value.


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        (c)    Schedule A/B, Part 7 – Office Furniture, Fixtures, and Equipment; and
               Collectibles. Dollar amounts are presented net of accumulated depreciation and
               other adjustments. Furniture and fixtures are recorded as a single line item on the
               Debtors’ books and records, and, as a result, the Debtors have disclosed these items
               together in response to Question 39. The Debtors believe it would be would be
               unduly burdensome and costly for the Debtors to separate this line item into
               separate responses for Questions 39 and 40.

        (d)    Schedule A/B, Part 11 – All Other Assets. Dollar amounts are presented net of
               impairments and other adjustments. The value of all assets listed on Schedule A/B
               are as of April 7, 2018.

               Additionally, the Debtors may receive refunds for sales and use tax at various times
               throughout their fiscal year. As of the Petition Date, however, certain of these
               amounts are unknown to the Debtors and, accordingly, may not be listed on
               Schedule A/B.

               Other Contingent and Unliquidated Claims or Causes of Action of Every Nature,
               including Counterclaims of the Debtors and Rights to Setoff Claims. In the
               ordinary course of their businesses, the Debtors may have accrued, or may
               subsequently accrue, certain rights to counter-claims, cross-claims, setoffs, credits,
               rebates, or refunds with their customers and suppliers or potential warranty claims
               against their suppliers. Additionally, certain of the Debtors may be party to pending
               litigation in which such Debtor has asserted, or may assert, claims as a plaintiff or
               counter-claims and/or cross-claims as a defendant. Because such claims are
               unknown to the Debtors and not quantifiable as of the Petition Date, they are not
               listed on Schedule A/B, Part 11.

               Interests in Insurance Policies or Annuities. A list of the Debtors’ insurance
               policies and related information is available in the Debtors’ Motion for Entry of
               Interim and Final Orders (I) Authorizing the Debtors to (A) Continue Insurance
               Coverage Entered Into Prepetition, (B) Renew, Supplement, Modify, or Purchase
               Insurance Coverage, and (C) Continue to Pay Brokerage Fees, and (II) Granting
               Related Relief [Docket No. 14]. The Debtors believe that there is little or no cash
               value to the vast majority of such insurance policies. Such policies have all been
               included on Schedule A/B, Part 11, with values listed as “undetermined.”

               Executory Contracts and Unexpired Leases. Because of the large number of the
               Debtors’ executory contracts and unexpired leases, as well as the size and scope of
               such documents, the Debtors have not attached such agreements to Schedule A/B.
               Instead, the Debtors have only listed such agreements on Schedule G.

        (e)    Schedule D – Creditors Who Have Claims Secured by Property. Except as
               otherwise agreed pursuant to a stipulation or order entered by the Bankruptcy Court,
               the Debtors reserve their rights to dispute or challenge the validity, perfection, or
               immunity from avoidance of any lien purported to be granted or perfected in any
               specific asset to a secured creditor listed on Schedule D. Moreover, although the


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               Debtors have scheduled claims of various creditors as secured claims, the Debtors
               reserve all rights to dispute or challenge the secured nature of any such creditor’s
               claim or the characterization of the structure of any such transaction or any
               document or instrument related to such creditor’s claim, including the Debtors’
               rights pursuant to paragraph 25 of the Interim Order (A) Authorizing the Debtors
               to Obtain Postpetition Financing, (B) Authorizing the Debtors to Use Cash
               Collateral, (C) Granting Liens and Providing Superpriority Administrative
               Expense Status, (D) Granting Adequate Protection to the Prepetition Secured
               Parties, (E) Modifying the Automatic Stay, and (F) Granting Related Relief
               [Docket No. 80].

               The descriptions provided in Schedule D are intended only to be a summary.
               Reference to the applicable agreements and other related relevant documents is
               necessary for a complete description of the collateral and the nature, extent, and
               priority of any liens. In certain instances, a Debtor may be a co-obligor,
               co-mortgagor, or guarantor with respect to scheduled claims of other Debtors, and
               no claim set forth on Schedule D of any Debtor is intended to acknowledge claims
               of creditors that are otherwise satisfied or discharged by other entities.

               The Debtors have not included on Schedule D parties that may believe such claims
               are secured through setoff rights or inchoate statutory lien rights. Although there
               are multiple parties that hold a portion of the debt included in the secured facilities,
               only the administrative agents have been listed for purposes of Schedule D.

        (f)    Schedule E/F – Creditors Who Have Unsecured Claims.

               Part 1 – Creditors with Priority Unsecured Claims. Pursuant to the Final Order
               (A) Authorizing the Payment of Certain Prepetition Taxes and Fees and
               (B) Granting Related Relief [Docket No. 216], the Debtors have been granted the
               authority to pay, in their discretion, certain tax liabilities that accrued prepetition.
               Accordingly, any unsecured priority claims based upon prepetition tax accruals that
               have been paid pursuant to the Taxes Order are not listed in Schedule E.

               Furthermore, pursuant to the Final Order (I) Authorizing the Debtors to (A) Pay
               Prepetition Employee Wages, Salaries, Other Compensation, and Reimbursable
               Employee Expenses, and (B) Continue Employee Benefits Programs and
               (II) Granting Related Relief [Docket No. 213], the Debtors received final authority
               to pay certain prepetition obligations, including to pay employee wages and other
               employee benefits, in the ordinary course of business. The Debtors believe that
               certain non-insider employee claims for prepetition amounts related to ongoing
               payroll and benefits, whether allowable as a priority or nonpriority claim, have been
               satisfied, and such satisfied amounts are not listed. To the extent non-insider
               severance benefits have not been paid up to the statutory cap of $12,850 set forth
               in sections 507(a)(4) and 507(a)(5) of the Bankruptcy Code as of the date hereof,
               the unpaid portion of such priority amount has been listed on Schedule E and
               marked as “contingent.” To the extent the Debtors later pay any of the priority
               amounts listed on Schedule E, the Debtors reserve all rights to amend or supplement


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               the Schedules and Statements or to take other action, such as filing claims
               objections, as is necessary and appropriate to avoid overpayment or duplicate
               payments for such liabilities.

               Moreover, in lieu of listing all of the Debtors’ possible taxing authorities for notice
               purposes in Schedule E/F, the Debtors have only listed those taxing authorities with
               which the Debtors have pending audits.

               The listing of a claim on Schedule E/F, Part 1, does not constitute an admission by
               the Debtors that such claim or any portion thereof is entitled to priority status.

               Except as otherwise agreed pursuant to a stipulation or order entered by the
               Bankruptcy Court, the Debtors reserve their rights to dispute or challenge the
               validity or immunity from avoidance of any claim purported to be granted to a
               creditor listed on Schedule E/F. Moreover, although the Debtors have scheduled
               claims of various creditors, the Debtors reserve all rights to dispute or challenge
               any such creditor’s claim or the characterization of the structure of any such
               transaction or any document or instrument related to such creditor’s claim.

               Part 2 – Creditors with Nonpriority Unsecured Claims. The liabilities identified
               in Schedule E/F, Part 2, are derived from the Debtors’ books and records. The
               Debtors made a reasonable attempt to set forth their unsecured obligations,
               although the actual amount of claims against the Debtors may vary from those
               liabilities represented on Schedule E/F, Part 2. The listed liabilities may not reflect
               the correct amount of any unsecured creditor’s allowed claims or the correct
               amount of all unsecured claims.

               To the extent the Debtors were unable to attribute a liability to a specific Debtor,
               the liability has been listed on Schedule E/F, Part 2, of Nine West Holdings, Inc.

               Schedule E/F, Part 2, contains information regarding certain compensation-related
               claims of insiders of the Debtors, with such claims being listed as “contingent” and
               “unliquidated.” In scheduling such claims, the Debtors make no representation or
               assertion as to the validity of such claims, and the Debtors reserve all rights, claims,
               and defenses in connection therewith.

               Schedule E/F, Part 2, contains information regarding threatened or pending
               litigation involving the Debtors. The amounts for these potential claims are listed
               as “undetermined” and are marked as contingent, unliquidated, and disputed in the
               Schedules and Statements.

               Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
               to executory contracts and unexpired leases. Such prepetition amounts, however,
               may be paid in connection with the assumption or assumption and assignment of
               an executory contract or unexpired lease. In addition, Schedule E/F, Part 2, does
               not include claims that may arise in connection with the rejection of any executory
               contracts and unexpired leases, if any, that may be or have been rejected.


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               In the ordinary course of business, the Debtors have retained certain customer
               prepayments and advances. Given the volume of such prepayments and advances
               and their confidential nature, the Debtors have not listed such prepayments and
               advances on Schedule E/F, Part 2. A more thorough description of the Debtors’
               customer relationships is set forth in the Debtors’ Motion for Entry of Interim and
               Final Orders (A) Authorizing the Debtors to Maintain and Administer Their
               Existing Customer Programs and Honor Certain Prepetition Obligations Related
               Thereto and (B) Granting Related Relief [Docket No. 10].

               In many cases, the claims listed on Schedule E/F, Part 2, arose, accrued, or were
               incurred on various dates or on a date or dates that are unknown to the Debtors or
               are subject to dispute. Where the determination of the date on which a claim arose,
               accrued, or was incurred would be unduly burdensome and costly to the Debtors’
               estates, the Debtors have not listed a specific date or dates for such claim.

               As of the time of filing of the Schedules and Statements, the Debtors have not
               received all invoices for payables, expenses, and other liabilities that may have
               accrued prior to the Petition Date. Accordingly, the information contained in
               Schedules D and E/F may be incomplete. The Debtors reserve their rights, but
               undertake no obligations, to amend Schedules D and E/F if, or when, the Debtors
               receive such invoices.

        (g)    Schedule G – Executory Contracts and Unexpired Leases. Although reasonable
               efforts have been made to ensure the accuracy of Schedule G, inadvertent errors or
               omissions may have occurred. Additionally, in certain instances, executory
               contracts and unexpired leases may be omitted due to their confidential nature but
               can be made available to the office of the United States Trustee for the Southern
               District of New York on a confidential basis. Additionally, relationships between
               the Debtors and their customers are often governed by a master services agreement,
               under which customers also place work and purchase orders, which may be
               considered executory contracts. The Debtors believe that disclosure of all of these
               purchase and work orders would be impracticable and unduly burdensome.
               Accordingly, to the extent the Debtors have determined to disclose non-confidential
               master services agreements in Schedule G, purchase and work orders placed
               thereunder may have been omitted.

               Listing a contract or agreement on Schedule G does not constitute an admission
               that such contract or agreement is an executory contract or unexpired lease or that
               such contract or agreement was in effect on the Petition Date or is valid or
               enforceable. Expired contracts and leases may have also been inadvertently
               included. The Debtors hereby reserve all of their rights to dispute the validity,
               status, or enforceability of any contracts, agreements, or leases set forth in
               Schedule G and to amend or supplement such Schedule as necessary. Certain of
               the leases and contracts listed on Schedule G may contain renewal options,
               guarantees of payment, indemnifications, options to purchase, rights of first refusal,
               and other miscellaneous rights. Such rights, powers, duties, and obligations are not
               set forth separately on Schedule G. In addition, the Debtors may have entered into


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                   various other types of agreements in the ordinary course of their business, such as
                   supplemental agreements and letter agreements, which documents may not be set
                   forth in Schedule G. The Debtors reserve the right to dispute the effectiveness of
                   any such contract listed on Schedule G or to amend Schedule G at any time to
                   remove any contract.

                   The Debtors reserve all rights to dispute or challenge the characterization of any
                   transaction or any document or instrument related to a creditor’s claim.

                   In some cases, the same supplier or provider may appear multiple times in
                   Schedule G. Multiple listings, if any, reflect distinct agreements between the
                   applicable Debtor and such supplier or provider.

                   Omission of a contract or agreement from Schedule G does not constitute an
                   admission that such omitted contract or agreement is not an executory contract or
                   unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
                   any such omitted contracts or agreements are not impaired by the omission. Certain
                   Debtors are guarantors and parties to guaranty agreements regarding the Debtors’
                   prepetition credit facility. The guaranty obligations arising under these agreements
                   are reflected on Schedules D and F only.

          (h)      Schedule H – Co-Debtors. For purposes of Schedule H, only the agent under the
                   prepetition credit facility or counterparties that are subject to a guaranty are listed
                   as co-Debtors on Schedule H. The Debtors have not listed any litigation-related
                   co-Debtors on Schedule H. Instead, all such listings can be found on
                   Schedules E/F.

6.        Specific Statements Disclosures.

          (a)      Statements, Part 1, Questions 1 and 2 – Income and Non-business Revenue.
                   Amounts listed for the current fiscal year are through April 7, 2018, rather than the
                   Petition Date.

          (b)      Statements, Part 2, Questions 3 and 4 – Payments to Certain Creditors. Prior
                   to the Petition Date, the Debtors maintained an integrated cash management system
                   through which the Debtors made certain payments on behalf of their other affiliated
                   entities. Consequently, nearly all 2 payments to creditors and insiders listed in
                   response to Questions 3 and 4 on each of the Statements reflect payments made by
                   Nine West Holdings, Inc. on behalf of the corresponding Debtor entity, pursuant to
                   the Debtors’ cash management system described in the Cash Management Motion.
                   Moreover, due to the Debtors’ historical reporting practices, the clearing dates for
                   certain transactions may reflect the date the transaction was entered rather than the
                   date the cash cleared the Debtors’ account.


2     As reflected in its Statements, Nine West Development LLC makes payments on its own behalf, with the exception
     of payments listed on Statement 11.



                                                         14

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               For the purposes of these Statements, the Debtors used April 6, 2018, as the Petition
               Date. Any cash transfers made by the Debtors on such date, but prior to the actual
               filing of these chapter 11 cases, are reflected herein as occurring prepetition.

               Payments made to Alvarez & Marsal North America LLC are reflected in the
               Debtors’ responses to Question 11. Payments made by Alvarez & Marsal to Ralph
               Schipani are not listed in response to Question 4. Further, to streamline expense
               reimbursement and reduce attendant costs, the Debtors provided Ralph Schipani
               with a corporate card and access to a centralized Business Travel Account for
               booking airfare. In the interest of additional disclosure and out of an abundance of
               caution, payments made by the Debtors for the use of the corporate card or for travel
               booked through the Business Travel Account are listed in response to Question 4.

        (c)    Statements, Part 2, Question 6 – Setoffs. For a discussion of setoffs and nettings
               incurred by the Debtors, refer to paragraph 4(r) of these Global Notes.

        (d)    Statements, Part 6, Question 11 – Payments Related to Bankruptcy. The
               attachment to Question 11 of Nine West Holdings, Inc.’s Statement reflects
               payments to professionals made from the Debtors’ main concentration account,
               which is owned by Nine West Holdings, Inc., on behalf of the ten other Debtor
               entities on a consolidated basis. The Debtors believe that it would be an inefficient
               use of the assets of the estates to allocate these payments on a Debtor-by-Debtor
               basis. The response to Question 11 in each of the Statements thus refers to the
               attachment to Question 11 of Nine West Holdings, Inc.’s Statement. In addition,
               in the interest of additional disclosure and out of an abundance of caution, the
               Debtors have included all payments to applicable professionals, including
               payments unrelated to bankruptcy (e.g., for corporate, intellectual property, and
               litigation-related professional fees and expenses).

        (e)    Statements, Part 12, Questions 22–24 – Details About Environmental
               Information. The Debtors have made commercially reasonable efforts to identify
               the requested information for: (i) material judicial and administrative proceedings;
               (ii) notices of potential material liability or material violations; and
               (iii) governmental notifications of material releases, in each case, initiated,
               pending, or received within approximately five (5) years from the filing date, except
               with respect to known state or federal hazardous off-site waste disposal sites
               designated under the Superfund law or state equivalents for which the Debtors
               disregarded a lookback period. The Debtors acknowledge the possibility that
               information related to material proceedings, notices and governmental notifications
               responsive to Statements, Part 12, Questions 22–24, may be discovered subsequent
               to the filing of the Schedules and Statements. The Debtors reserve the right to
               supplement or amend this response in the future if additional information becomes
               available.

        (f)    Statements, Part 13, Question 26 – Books, Records, and Financial Statements.
               The Debtors provide certain parties, such as banks, auditors, potential investors,
               vendors, and financial advisors, with financial statements that may not be part of a


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               public filing. The Debtors do not maintain complete lists or other records tracking
               such disclosures. Therefore, the Debtors have not provided full lists of these parties
               in their response to Statement Question 26, but have included parties who received
               audited financial statements.

        (g)    Statements, Part 13, Question 27 – Inventories. The Debtors inventory product
               at their various distribution centers on a regular basis (including, in many scenarios,
               on a daily basis). In an effort to reduce the volume of disclosures that would be
               otherwise applicable, the Debtors have omitted such daily cycle counts conducted
               by the distribution centers.

        (h)    Statements, Part 13, Question 30 – Payments, Distributions, or Withdrawals
               Credited or Given to Insiders. Distributions by the Debtors to their respective
               directors and officers are listed on the attachment to Questions 3 and 4. Certain
               directors and executive officers of the Debtors are also directors and executive
               officers of certain Debtor and non-Debtor affiliates. To the extent payments to such
               individuals are not listed in the response to Questions 3 and 4 on the Statements for
               such Debtor affiliates, they did not receive payment for their services as directors
               or executive officers of these entities. Certain of the Debtors’ directors and
               executive officers received distributions net of tax withholdings in the year
               preceding the Petition Date. The amounts listed under Questions 3 and 4 reflect
               the gross amounts paid to such directors and executive officers, rather than the net
               amounts after deducting for tax withholdings.

                                  *       *      *       *       *




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 KASPER GROUP LLC

                    Southern                    New York

         18-10949




                                                                                          1,523,577.26



                                                                                       118,116,132.41
                                                                                 + undetermined amounts



                                                                                       119,639,709.67
                                                                                 + undetermined amounts




                                                                                       130,527,321.00
                                                                                 + undetermined amounts




                               5a                                                            83,168.53
                                                                                 + undetermined amounts



                                                                                        94,753,017.89
                                           5b                                    + undetermined amounts




                                                                                       225,363,507.42
                                                                                 + undetermined amounts
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            KASPER GROUP LLC

                                     Southern                  New York

                          18-10949




X




                                                                                                           0.00




     See Attached Rider                                                                               100,000.00




     None                                                                                                   0.00




                                                                                                      100,000.00




X




     See Attached Rider                                                                                364,062.50
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           KASPER GROUP LLC                                                  18-10949




    See Attached Rider                                                                            5,348,603.21




                                                                                                 5,712,665.71




X




                           53,021,558.94             13,609,124.80                              39,412,434.14


                              1,812,516.02            1,058,087.96                                754,428.06



                                                                                                40,166,862.20




X




                                                                                                        0.00
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        KASPER GROUP LLC                                                       18-10949




 X




None                                                                                                     0.00



None                                                                                                     0.00




FINISHED GOODS                                         24,461,111.39   NET BOOK VALUE           24,461,111.39



None                                                                                                     0.00



                                                                                                24,461,111.39




 X




 X                   Undetermined                                           Undetermined


 X




 X
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            KASPER GROUP LLC                                                18-10949




                                                                                                       0.00




 X




FURNITURE & FIXTURES                                   234,557.75   NET BOOK VALUE              234,557.75



PLEASE SEE RESPONSE TO SCHEDULE AB QUESTION 39.




See Attached Rider                                     320,332.04                               320,332.04




     None                                                                                             0.00




                                                                                                554,889.79




X



X
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           KASPER GROUP LLC                                                18-10949




X




    None                                                                                          0.00




    None                                                                                          0.00




    None                                                                                          0.00




MACHINERY & EQUIPMENT                                27,374.21   NET BOOK VALUE             27,374.21



                                                                                            27,374.21




X



X
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          KASPER GROUP LLC                                                      18-10949




X




    LEASEHOLD IMPRTS - 1412 BROADWAY   LEASED REAL    1,523,577.26    NET BOOK VALUE                1,523,577.26
    NEW YORK, NY 10018                 PROPERTY




                                                                                                    1,523,577.26




X


X




X




See Attached Rider                                             0.00                                          0.00
                                                                                            + undetermined amounts


See Attached Rider                                             0.00                                          0.00
                                                                                            + undetermined amounts

None                                                                                                         0.00


None                                                                                                         0.00


None                                                                                                         0.00


None                                                                                                         0.00


                                                                                                             0.00
                                                                                            + undetermined amounts
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          KASPER GROUP LLC                                                                18-10949




X




None                                                                                                                  0.00




None
                                                                                                                      0.00




See Attached Rider                                                                                                    0.00
                                                                                                     + undetermined amounts




None                                                                                                                  0.00




Potential Estate Claims and Causes of Action, Including all Estate or Derivative Claims                     Undetermined



                                   Undetermined



None                                                                                                                  0.00




INTERCOMPANY RECEIVABLE - JH APPAREL HOLDINGS LLC                                                           47,093,229.11




                                                                                                            47,093,229.11
                                                                                                     + undetermined amounts



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     KASPER GROUP LLC                                                   18-10949




                                                      100,000.00


                                                     5,712,665.71



                                                    40,166,862.20


                                                             0.00


                                                    24,461,111.39


                                                             0.00



                                                      554,889.79


                                                        27,374.21


                                                                          1,523,577.26


                                                             0.00
                                               + undetermined amounts

                                                    47,093,229.11
                                               + undetermined amounts

                                                    118,116,132.41         1,523,577.26
                                           + undetermined amounts




                                                                                               119,639,709.67
                                                                                          + undetermined amounts
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Debtor Name: KASPER GROUP LLC                                                                     Case Number: 18-10949

                                                  Assets - Real and Personal Property

                           Part 1, Question 3: Checking, savings, money market, or financial brokerage accounts



Name of institution (bank or brokerage                                           Last 4 digits of account         Current value of debtor's
                                            Type of account
firm)                                                                            number                           interest
BANK OF AMERICA                            LOCKBOX (#277512)                    2882                                                $100,000.00

                                                                                                      TOTAL                         $100,000.00




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  Debtor Name: KASPER GROUP LLC                                                                   Case Number: 18-10949

                                                Assets - Real and Personal Property

                             Part 2, Question 7: Deposits, including security deposits and utility deposits




Description                                                Name of holder of deposit                          Current value of debtor's interest
LEASING DEPOSIT - 1412 BROADWAY 9TH FLOOR                  ESCADA US SUBCO LLC                                                      $110,771.76
LEASING DEPOSIT - 1412 BROADWAY 9TH FLOOR                  ESCADA US SUBCO LLC                                                       $53,290.74
SECURITY DEPOSIT - FREIGHT                                 US BANK                                                                  $200,000.00
                                                                                                  TOTAL                             $364,062.50




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  Debtor Name: KASPER GROUP LLC                                                                     Case Number: 18-10949

                                                    Assets - Real and Personal Property

               Part 2, Question 8: Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent




Description                                                    Name of holder of prepayment                  Current value of debtor's interest
PREPAID EXPENSES LONG TERM                                     1412 BROADWAY AMORTIZATION                                            $44,414.33
PREPAID INSURANCE                                              CA SHEA & COMPANY INC                                                 $24,500.00
PREPAID INSURANCE                                              NATIONAL UNION FIRE INSURANCE                                          $2,472.83
PREPAID INSURANCE                                              WILLIS OF NY INC D&O, EPL, FID                                        $93,150.00
PREPAID INSURANCE                                              WILLIS OF NY INC EXCESS D&O RUN OFF                                   $55,200.00
PREPAID MARKETING FIXTURES                                     AMORTIZATION                                                        $3,021,206.87
PREPAID MARKETING FIXTURES RESTRUCTURING                       IDX ACCRUAL                                                           $68,910.01
PREPAID OTHER                                                  AGE BECKER                                                            $66,666.67
PREPAID OTHER                                                  INTEGRATION POINT INC                                                  $8,900.00
PREPAID OTHER                                                  LIBERTY MUTUAL                                                        $14,112.79
PREPAID OTHER                                                  LOG-NET ANNUAL TECH SUPPORT                                            $3,576.44
PREPAID OTHER                                                  MUNICH STOP LOSS                                                      $20,200.25
PREPAID OTHER                                                  NEDGRAPHICS                                                           $10,207.03
PREPAID OTHER                                                  VISUAL RETAILING LLC                                                   $1,570.09
PREPAID RENT                                                   ESCADA US SUBO LLC                                                   $399,957.24
PREPAID ROYALTIES                                              DRESS BARN                                                          $1,476,779.04
TRANSIT CHK ADVANCE                                            WAGE WORKS - KASPER                                                   $36,779.62
                                                                                                    TOTAL                          $5,348,603.21




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Debtor Name:          KASPER GROUP LLC                                                           Case Number:           18-10949

                                                    Assets - Real and Personal Property

         Part 7, Question 41: Office equipment, including all computer equipment and communication systems equipment and software




General description      Basis                       Depreciation         Net book value of    Valuation method       Current value of
                                                                          debtor's interest    used for current       debtor's interest
                                                                                               value
COMPUTER                               $50,352.32          ($25,308.94)             $25,043.38 NET BOOK VALUE                       $25,043.38
EQUIPMENT
SOFTWARE                              $327,940.80          ($32,652.14)            $295,288.66 NET BOOK VALUE                   $295,288.66

                                                                                               TOTAL                            $320,332.04




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Debtor Name: KASPER GROUP LLC                                                                     Case Number: 18-10949

                                                Assets - Real and Personal Property

                                Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                          Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                          interest                              current value                interest
TRADEMARK - ALBERT NIPON (STYLIZED);                            Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1,042,953; DATED -
JUL 6 1976
TRADEMARK - ALBERT NIPON BOUTIQUE;                              Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1554633; DATED -
OCT 10 1979
TRADEMARK - ALBERT NIPON SUITS;                                 Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 00001411242; DATED
- JAN 19 1990
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
APPLICATION NO. - 216785-25-0; DATED -
OCT 17 2016
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1007473; DATED -
FEB 28 1980
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1036121; DATED -
JUL 26 1982
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1047073; DATED -
JUN 5 1984
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1166082; DATED -
DEC 8 1981
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1169623; DATED -
FEB 11 1982
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1191328; DATED -
MAR 1 1983
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1210215; DATED -
JAN 5 1984
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1211891; DATED -
JAN 31 1984
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 128868; DATED - JUN
5 1998
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 131108; DATED - OCT
6 2003
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1325670; DATED -
NOV 30 2012
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 133257; DATED - SEP
19 1988
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 139494; DATED -
NOV 16 1989
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1568862; DATED -
JAN 8 1980


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Debtor Name: KASPER GROUP LLC                                                                     Case Number: 18-10949

                                                Assets - Real and Personal Property

                                Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                          Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                          interest                              current value                interest
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1968395; DATED -
JUL 23 1987
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 2,552,470; DATED -
MAR 26 2002
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 201401634; DATED -
JUL 30 2014
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 269469; DATED -
MAY 28 1982
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 300005318; DATED -
APR 11 2003
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 3129319; DATED -
JUL 29 2004
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 318793; DATED - DEC
25 2006
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 3222649; DATED -
NOV 29 1996
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 324241; DATED -
MAR 11 1983
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 327933; DATED - SEP
23 1983
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 342046; DATED - JAN
17 1980
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 377076; DATED - DEC
1 1981
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 395514; DATED - OCT
6 1983
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 417086; DATED - SEP
28 1983
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 4836529; DATED -
APR 21 2009
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 4844135; DATED -
APR 28 2009
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 516056/TM205256;
DATED - APR 17 2003
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 93460726; DATED -
MAR 23 1993


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Debtor Name: KASPER GROUP LLC                                                                     Case Number: 18-10949

                                                Assets - Real and Personal Property

                                Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                          Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                          interest                              current value                interest
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 978721; DATED - JAN
27 1986
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 99329; DATED - MAR
29 1982
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - B2443/1990; DATED -
NOV 10 1988
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - T03/05122J; DATED -
APR 11 2003
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - T98/01979F; DATED -
MAR 6 1998
TRADEMARK - ALBERT NIPON;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - TMA350563; DATED -
JAN 27 1989
TRADEMARK - BLACK LABEL BY EVAN-                                Undetermined NET BOOK VALUE                                  Undetermined
PICONE
TRADEMARK - BLACK LABEL BY EVAN-                                Undetermined NET BOOK VALUE                                  Undetermined
PICONE; APPLICATION NO. - 86/627,740;
DATED - MAY 13 2015
TRADEMARK - BLACK LABEL BY EVAN-                                Undetermined NET BOOK VALUE                                  Undetermined
PICONE; APPLICATION NO. - 86/627,753;
DATED - MAY 13 2015
TRADEMARK - BLACK LABEL BY EVAN-                                Undetermined NET BOOK VALUE                                  Undetermined
PICONE; APPLICATION NO. - 86/627,764;
DATED - MAY 13 2015
TRADEMARK - BLACK LABEL BY EVAN-                                Undetermined NET BOOK VALUE                                  Undetermined
PICONE; APPLICATION NO. - 86/627,775;
DATED - MAY 13 2015
TRADEMARK - BLACK LABEL BY EVAN-                                Undetermined NET BOOK VALUE                                  Undetermined
PICONE; APPLICATION NO. - 86/627,785;
DATED - MAY 13 2015
TRADEMARK - BLACK LABEL BY EVAN-                                Undetermined NET BOOK VALUE                                  Undetermined
PICONE; APPLICATION NO. - 86/627,793;
DATED - MAY 13 2015
TRADEMARK - BLACK LABEL BY EVAN-                                Undetermined NET BOOK VALUE                                  Undetermined
PICONE; REGISTRATION NO. - 14092571;
DATED - SEP 10 2015
TRADEMARK - BLACK LABEL BY EVAN-                                Undetermined NET BOOK VALUE                                  Undetermined
PICONE; REGISTRATION NO. - 1549603;
DATED - JUN 22 2015
TRADEMARK - BLACK LABEL BY EVAN-                                Undetermined NET BOOK VALUE                                  Undetermined
PICONE; REGISTRATION NO. - 1549603;
DATED - JUN 22 2015
TRADEMARK - BLACK LABEL BY EVAN-                                Undetermined NET BOOK VALUE                                  Undetermined
PICONE; REGISTRATION NO. - 1549604;
DATED - JUN 22 2015
TRADEMARK - BLACK LABEL BY EVAN-                                Undetermined NET BOOK VALUE                                  Undetermined
PICONE; REGISTRATION NO. - 1567044;
DATED - AUG 25 2015



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Debtor Name: KASPER GROUP LLC                                                                     Case Number: 18-10949

                                                Assets - Real and Personal Property

                                Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                          Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                          interest                              current value                interest
TRADEMARK - BLACK LABEL BY EVAN-                                Undetermined NET BOOK VALUE                                  Undetermined
PICONE; REGISTRATION NO. - 17060813;
DATED - AUG 14 2016
TRADEMARK - BLACK LABEL BY EVAN-                                Undetermined NET BOOK VALUE                                  Undetermined
PICONE; REGISTRATION NO. - 17060814;
DATED - AUG 14 2016
TRADEMARK - BLACK LABEL BY EVAN-                                Undetermined NET BOOK VALUE                                  Undetermined
PICONE; REGISTRATION NO. - 17060815;
DATED - AUG 14 2016
TRADEMARK - BLACK LABEL BY EVAN-                                Undetermined NET BOOK VALUE                                  Undetermined
PICONE; REGISTRATION NO. - 4,922,011;
DATED - MAR 22 2016
TRADEMARK - ELEJIR; REGISTRATION NO.                            Undetermined NET BOOK VALUE                                  Undetermined
- 13305715; DATED - JAN 21 2015
TRADEMARK - ELEJIR; REGISTRATION NO.                            Undetermined NET BOOK VALUE                                  Undetermined
- 13305716; DATED - JAN 21 2015
TRADEMARK - ELEJIR; REGISTRATION NO.                            Undetermined NET BOOK VALUE                                  Undetermined
- 13305717; DATED - JAN 21 2015
TRADEMARK - ESSENTIALS THAT WORK;                               Undetermined NET BOOK VALUE                                  Undetermined
APPLICATION NO. - 87494951; DATED -
JUN 19 2017
TRADEMARK - EVAN PICONE SPORT                                   Undetermined NET BOOK VALUE                                  Undetermined
(STYLIZED); REGISTRATION NO. - 157086;
DATED - JUN 17 1993
TRADEMARK - EVAN-PICONE (IN                                     Undetermined NET BOOK VALUE                                  Undetermined
KATAKANA); REGISTRATION NO. -
1298916; DATED - SEP 12 1987
TRADEMARK - EVAN-PICONE (IN                                     Undetermined NET BOOK VALUE                                  Undetermined
KATAKANA); REGISTRATION NO. -
2098661; DATED - NOV 30 1988
TRADEMARK - EVAN-PICONE (IN                                     Undetermined NET BOOK VALUE                                  Undetermined
KATAKANA); REGISTRATION NO. -
2160081; DATED - AUG 31 1989
TRADEMARK - EVAN-PICONE (IN                                     Undetermined NET BOOK VALUE                                  Undetermined
KATAKANA); REGISTRATION NO. -
2166960; DATED - AUG 31 1989
TRADEMARK - EVAN-PICONE BLACK                                   Undetermined NET BOOK VALUE                                  Undetermined
LABEL
TRADEMARK - EVAN-PICONE IN CHINESE                              Undetermined NET BOOK VALUE                                  Undetermined
CHARACTERS; APPLICATION NO. -
5519656; DATED - AUG 3 2006
TRADEMARK - EVAN-PICONE IN CHINESE                              Undetermined NET BOOK VALUE                                  Undetermined
CHARACTERS; REGISTRATION NO. -
5519655; DATED - OCT 14 2009
TRADEMARK - EVAN-PICONE IN CHINESE                              Undetermined NET BOOK VALUE                                  Undetermined
CHARACTERS; REGISTRATION NO. -
5519657; DATED - SEP 13 2019
TRADEMARK - EVAN-PICONE SPORT                                   Undetermined NET BOOK VALUE                                  Undetermined
(STYLIZED); REGISTRATION NO. - 122114;
DATED - SEP 21 1992
TRADEMARK - EVAN-PICONE SPORT                                   Undetermined NET BOOK VALUE                                  Undetermined
(STYLIZED); REGISTRATION NO. - 128691;
DATED - FEB 28 1991



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Debtor Name: KASPER GROUP LLC                                                                     Case Number: 18-10949

                                                Assets - Real and Personal Property

                                Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                          Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                          interest                              current value                interest
TRADEMARK - EVAN-PICONE SPORT                                   Undetermined NET BOOK VALUE                                  Undetermined
(STYLIZED); REGISTRATION NO. - 1457438;
DATED - MAR 5 1991
TRADEMARK - EVAN-PICONE SPORT                                   Undetermined NET BOOK VALUE                                  Undetermined
(STYLIZED); REGISTRATION NO. - 238376;
DATED - JUL 31 1992
TRADEMARK - EVAN-PICONE SPORT                                   Undetermined NET BOOK VALUE                                  Undetermined
(STYLIZED); REGISTRATION NO. - 2723875;
DATED - DEC 26 1997
TRADEMARK - EVAN-PICONE SPORT                                   Undetermined NET BOOK VALUE                                  Undetermined
(STYLIZED); REGISTRATION NO. - 474890;
DATED - JUL 2 1990
TRADEMARK - EVAN-PICONE SPORT                                   Undetermined NET BOOK VALUE                                  Undetermined
(STYLIZED); REGISTRATION NO. - 985637;
DATED - DEC 16 1993
TRADEMARK - EVAN-PICONE SPORT                                   Undetermined NET BOOK VALUE                                  Undetermined
(STYLIZED); REGISTRATION NO. -
B6941/95; DATED - AUG 16 1995
TRADEMARK - EVAN-PICONE SPORT;                                  Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 76414; DATED - APR
1 1996
TRADEMARK - EVAN-PICONE WITH                                    Undetermined NET BOOK VALUE                                  Undetermined
DESIGN; REGISTRATION NO. - 2050604;
DATED - MAY 26 1988
TRADEMARK - EVAN-PICONE WITH                                    Undetermined NET BOOK VALUE                                  Undetermined
DESIGN; REGISTRATION NO. - 2098660;
DATED - NOV 30 1988
TRADEMARK - EVAN-PICONE WITH                                    Undetermined NET BOOK VALUE                                  Undetermined
DESIGN; REGISTRATION NO. - 2107469;
DATED - JAN 23 1989
TRADEMARK - EVAN-PICONE WITH                                    Undetermined NET BOOK VALUE                                  Undetermined
DESIGN; REGISTRATION NO. - 2107470;
DATED - JAN 23 1989
TRADEMARK - EVAN-PICONE WITH                                    Undetermined NET BOOK VALUE                                  Undetermined
DESIGN; REGISTRATION NO. - 56543;
DATED - MAY 20 1970
TRADEMARK - EVAN-PICONE WITH                                    Undetermined NET BOOK VALUE                                  Undetermined
DESIGN; REGISTRATION NO. - B68/4042;
DATED - SEP 9 1968
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
APPLICATION NO. - 312234; DATED - DEC
31 2014
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
APPLICATION NO. - 3364346; DATED - OCT
30 2014
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
APPLICATION NO. - 86/876,406; DATED -
JAN 15 2016
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
APPLICATION NO. - 9052014; DATED - APR
10 2014
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
APPLICATION NO. - 9062014; DATED - APR
10 2014


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Debtor Name: KASPER GROUP LLC                                                                     Case Number: 18-10949

                                                Assets - Real and Personal Property

                                Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                          Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                          interest                              current value                interest
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
APPLICATION NO. - 9072014; DATED - APR
10 2014
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 0,854,224; DATED -
AUG 6 1968
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 03316; DATED - DEC
6 2003
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 034586; DATED - OCT
29 1984
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 0375161; DATED -
MAR 12 1982
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 04615PP; DATED -
OCT 25 1994
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 060958; DATED - JAN
13 1994
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1,250,451; DATED -
SEP 6 1983
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1,513,133; DATED -
FEB 7 1989
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 100400; DATED -
AUG 23 1990
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1006137; DATED -
MAR 7 1983
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1045660; DATED -
JUN 1 2003
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1064806; DATED -
NOV 16 2003
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 107180; DATED - JAN
22 1985
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1074359; DATED -
MAR 1 1985
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 107655; DATED -
MAR 2 1984
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 107656; DATED -
MAR 2 1984
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 107657; DATED -
MAR 2 1984


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Debtor Name: KASPER GROUP LLC                                                                     Case Number: 18-10949

                                                Assets - Real and Personal Property

                                Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                          Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                          interest                              current value                interest
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 11,115; DATED - NOV
21 1983
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1135224; DATED -
JUL 24 2006
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 11766; DATED - SEP
14 1981
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1177165; DATED -
JUN 3 1991
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 117824; DATED -
MAR 20 1992
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1194-88; DATED -
MAY 20 1988
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1201600005349;
DATED - NOV 22 2016
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 123508-F; DATED -
MAY 16 1986
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 128131; DATED - JUN
5 2012
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1292747; DATED -
JUN 25 2012
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 133760; DATED -
NOV 9 1981
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 140002; DATED - DEC
18 1991
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1430027; DATED -
JUL 2 1990
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 148655; DATED - OCT
13 1981
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1489; DATED - OCT
14 1981
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 151072; DATED - JAN
10 1970
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 151474; DATED - JUL
16 1992
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 153501; DATED - FEB
28 1994


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Debtor Name: KASPER GROUP LLC                                                                     Case Number: 18-10949

                                                Assets - Real and Personal Property

                                Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                          Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                          interest                              current value                interest
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1582239; DATED -
JUL 25 1990
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1591346; DATED -
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1606568; DATED -
JUL 27 1990
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1634828; DATED -
APR 28 2016
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 165 195; DATED -
OCT 24 1981
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 165195; DATED - OCT
24 1981
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 166150; DATED -
MAY 31 1994
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 166155; DATED -
MAY 30 1994
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 171879; DATED - OCT
9 1970
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 182270; DATED - JUL
1 1982
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 18781; DATED - JUL
29 1989
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1970051; DATED -
FEB 7 2003
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 2038; DATED - AUG
21 1984
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 2071083; DATED -
AUG 29 1988
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 211653; DATED -
MAY 16 1983
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 211760; DATED -
MAY 16 1983
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 215768; DATED - OCT
31 2014
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 231924; DATED -
MAR 27 1992



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Debtor Name: KASPER GROUP LLC                                                                     Case Number: 18-10949

                                                Assets - Real and Personal Property

                                Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                          Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                          interest                              current value                interest
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 234392; DATED - JUN
10 1994
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 236591; DATED - JUL
11 2014
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 23816; DATED - SEP
25 1981
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 252/12; DATED - FEB
8 1992
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 268546; DATED - DEC
28 1992
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 2716/92; DATED - JUL
7 1992
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 27753; DATED -
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 27773; DATED - AUG
30 1983
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 280212; DATED - APR
17 1995
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 2831; DATED - NOV 5
1991
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 2904587; DATED -
SEP 8 2017
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 3124092; DATED -
FEB 29 1996
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 330050; DATED -
MAY 27 1991
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 3465606; DATED -
AUG 2 2005
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 361399; DATED - APR
2 1980
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 366921; DATED - SEP
30 1988
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 383956; DATED - SEP
9 1991
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 387704; DATED - JAN
30 1986



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Debtor Name: KASPER GROUP LLC                                                                     Case Number: 18-10949

                                                Assets - Real and Personal Property

                                Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                          Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                          interest                              current value                interest
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 4-2012-012172;
DATED - AUG 29 2013
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 4-2015-012947;
DATED - MAY 12 2016
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 45196/371/105;
DATED - OCT 17 1983
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 452255; DATED -
AUG 1 1984
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 463-1982; DATED -
JAN 29 1982
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 483669; DATED - JUN
27 1990
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 502/1991; DATED -
APR 26 1991
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 5049/95; DATED -
AUG 6 1990
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 518930; DATED - APR
1 1991
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 53484; DATED - MAR
3 1986
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 567984; DATED - OCT
10 1991
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 570247; DATED - OCT
30 1991
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 5869; DATED - DEC
30 2013
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 61037; DATED - JUL
15 1982
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 622509; DATED - FEB
14 2002
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 63189; DATED - NOV
22 1968
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 693332; DATED - DEC
21 1965
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 70142; DATED - SEP
21 1984


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Debtor Name: KASPER GROUP LLC                                                                     Case Number: 18-10949

                                                Assets - Real and Personal Property

                                Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                          Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                          interest                              current value                interest
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 76489; DATED - APR
1 1996
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 77277; DATED - MAR
10 1994
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 78017; DATED - APR
29 1994
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 81212; DATED - SEP
11 1994
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 818293160; DATED -
OCT 11 2005
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 824094573; DATED -
APR 17 2007
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 827509286; DATED -
DEC 18 2007
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 874 593; DATED -
SEP 5 1968
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 87944; DATED - JUN
23 1970
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 88355; DATED - NOV
23 1990
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 898596; DATED - FEB
15 1993
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 90/04425; DATED -
JUL 12 1990
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 907510; DATED -
AUG 31 1990
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 9124; DATED - FEB
15 1993
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 91979; DATED - DEC
18 2003
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 926662; DATED -
MAR 28 2001
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 930527; DATED - SEP
5 1968
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 963755; DATED - JUN
27 2002


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Debtor Name: KASPER GROUP LLC                                                                     Case Number: 18-10949

                                                Assets - Real and Personal Property

                                Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                          Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                          interest                              current value                interest
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 98611; DATED - JAN
30 1991
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 988084; DATED -
MAR 10 1986
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - A536530; DATED -
AUG 20 1992
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - B115625; DATED -
SEP 18 1986
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - B3181/83; DATED -
JUN 21 1983
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - DD651100; DATED -
APR 28 1992
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - KOR118607; DATED -
JUL 16 1990
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - KOR118608; DATED -
JUL 16 1990
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - M092240; DATED -
SEP 17 1992
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - R 12472; DATED -
JAN 20 1992
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - S28613; DATED - SEP
17 1981
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - VR 617-1969; DATED
- FEB 28 1969
TRADEMARK - EVAN-PICONE;                                        Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - VR 6185-1991;
DATED - SEP 20 1991
TRADEMARK - KASPER                                              Undetermined NET BOOK VALUE                                  Undetermined

TRADEMARK - KASPER; APPLICATION NO.                             Undetermined NET BOOK VALUE                                  Undetermined
- 15116; DATED - MAR 6 2014
TRADEMARK - KASPER; APPLICATION NO.                             Undetermined NET BOOK VALUE                                  Undetermined
- 15118; DATED - MAR 6 2014
TRADEMARK - KASPER; APPLICATION NO.                             Undetermined NET BOOK VALUE                                  Undetermined
- 15119; DATED - MAR 6 2014
TRADEMARK - KASPER; APPLICATION NO.                             Undetermined NET BOOK VALUE                                  Undetermined
- 7115789; DATED - DEC 16 2008
TRADEMARK - KASPER; APPLICATION NO.                             Undetermined NET BOOK VALUE                                  Undetermined
- 9012014; DATED - APR 10 2014
TRADEMARK - KASPER; APPLICATION NO.                             Undetermined NET BOOK VALUE                                  Undetermined
- 9032014; DATED - APR 10 2014



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Debtor Name: KASPER GROUP LLC                                                                     Case Number: 18-10949

                                                Assets - Real and Personal Property

                                Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                          Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                          interest                              current value                interest
TRADEMARK - KASPER; APPLICATION NO.                             Undetermined NET BOOK VALUE                                  Undetermined
- 9042014; DATED - APR 10 2014
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 1,162,830; DATED - JUL 28 1981
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 1387766; DATED - JUL 21 2008
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 205219; DATED - JAN 25 2005
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 207445; DATED - FEB 23 1998
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 2159060; DATED - FEB 24 1998
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 2417798; DATED - JUL 19 2004
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 3,536,755; DATED - NOV 25 2008
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 322845; DATED - MAR 19 2007
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 3384446; DATED - FEB 19 2008
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 4,792,816; DATED - AUG 18 2015
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 522730; DATED - MAY 7 2004
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 5447; DATED - AUG 3 2016
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 56759; DATED - NOV 17 2004
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 627110; DATED - FEB 20 1998
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 70766; DATED - JUN 14 2007
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 7115788; DATED - APR 21 2014
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 755735; DATED - FEB 23 1998
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 836458; DATED - JUN 9 2004
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 98719963; DATED - FEB 25 1998
TRADEMARK - KASPER; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - TMA491089; DATED - MAR 10 1998
TRADEMARK - LE SUIT; APPLICATION NO.                            Undetermined NET BOOK VALUE                                  Undetermined
- 9022014; DATED - APR 10 2014
TRADEMARK - LE SUIT; APPLICATION NO.                            Undetermined NET BOOK VALUE                                  Undetermined
- 9132014; DATED - APR 10 2014
TRADEMARK - LE SUIT; APPLICATION NO.                            Undetermined NET BOOK VALUE                                  Undetermined
- 9142014; DATED - APR 10 2014
TRADEMARK - LE SUIT; REGISTRATION                               Undetermined NET BOOK VALUE                                  Undetermined
NO. - 13444018; DATED - JUL 7 2016



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Debtor Name: KASPER GROUP LLC                                                                     Case Number: 18-10949

                                                Assets - Real and Personal Property

                                Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                          Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                          interest                              current value                interest
TRADEMARK - LE SUIT; REGISTRATION                               Undetermined NET BOOK VALUE                                  Undetermined
NO. - 15120; DATED -
TRADEMARK - LE SUIT; REGISTRATION                               Undetermined NET BOOK VALUE                                  Undetermined
NO. - 2,190,755; DATED - SEP 22 1998
TRADEMARK - LE SUIT; REGISTRATION                               Undetermined NET BOOK VALUE                                  Undetermined
NO. - 337326; DATED - NOV 14 2007
TRADEMARK - LE SUIT; REGISTRATION                               Undetermined NET BOOK VALUE                                  Undetermined
NO. - 7159; DATED - JUN 30 2014
TRADEMARK - LE SUIT; REGISTRATION                               Undetermined NET BOOK VALUE                                  Undetermined
NO. - 7160; DATED - JUN 30 2014
TRADEMARK - LE SUIT; REGISTRATION                               Undetermined NET BOOK VALUE                                  Undetermined
NO. - 9884907; DATED - MAY 28 2014
TRADEMARK - NIPON BOUTIQUE                                      Undetermined NET BOOK VALUE                                  Undetermined

TRADEMARK - NIPON BOUTIQUE;                                     Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 1501589; DATED -
DEC 2 1988
TRADEMARK - NIPON BOUTIQUE;                                     Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 16477009; DATED -
MAY 14 2017
TRADEMARK - NIPON BOUTIQUE;                                     Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 330908; DATED -
AUG 3 2007
TRADEMARK - NIPON BOUTIQUE;                                     Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 4,617,470; DATED -
OCT 7 2014
TRADEMARK - NIPON PETITES;                                      Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 133258; DATED - SEP
19 1988
TRADEMARK - PICONE SPORT;                                       Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 488519; DATED - JAN
29 1998
TRADEMARK - PICONE; REGISTRATION                                Undetermined NET BOOK VALUE                                  Undetermined
NO. - 1035491; DATED - MAR 1 2003
TRADEMARK - SEPARATES THAT WORK;                                Undetermined NET BOOK VALUE                                  Undetermined
APPLICATION NO. - 87569753; DATED -
AUG 15 2017
TRADEMARK - STUDIO PICONE;                                      Undetermined NET BOOK VALUE                                  Undetermined
REGISTRATION NO. - 328,195; DATED -
MAY 29 1987
                                                                                                     TOTAL                         $0.00
                                                                                                                  + undetermined amounts




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Debtor Name: KASPER GROUP LLC                                                               Case Number: 18-10949

                                          Assets - Real and Personal Property

                                 Part 10, Question 61: Internet domain names and websites



                                    Net book value of debtor's          Valuation method used for      Current value of debtor's
General description
                                    interest                            current value                  interest
ALBERTNIPON.COM                                          Undetermined NET BOOK VALUE                                   Undetermined

EVANPICONE.COM                                           Undetermined NET BOOK VALUE                                   Undetermined

EVAN-PICONE.COM                                          Undetermined NET BOOK VALUE                                   Undetermined

EVANPICONE.NET                                           Undetermined NET BOOK VALUE                                   Undetermined

KASPER.COM                                               Undetermined NET BOOK VALUE                                   Undetermined

KASPER-APPAREL.COM                                       Undetermined NET BOOK VALUE                                   Undetermined

KASPEREMAIL.COM                                          Undetermined NET BOOK VALUE                                   Undetermined

KASPERGROUPAPPAREL.COM                                   Undetermined NET BOOK VALUE                                   Undetermined

                                                                                               TOTAL                         $0.00
                                                                                                            + undetermined amounts




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Debtor Name: KASPER GROUP LLC                                                                   Case Number: 18-10949

                                             Assets - Real and Personal Property

                                Part 11, Question 73: Interests in insurance policies or annuities



                                                                                                          Current value of debtor's
Description                           Policy type                            Policy number
                                                                                                          interest
AIG SPECIALTY INSURANCE COMPANY       D&O, EMPLOYMENT PRACTICES              01-969-09-76                                 Undetermined
                                      LIABILITY, AND FIDUCIARY
                                      LIABILITY
ALLIANZ                               OCEAN CARGO/INLAND TRANSIT OC & OCW 91543900                                        Undetermined

ALLIANZ                               SIDE A DIRECTORS & OFFICERS            DOA2010075                                   Undetermined
                                      LIABILITY
BEAZLEY INSURANCE COMPANY, INC.       NETWORK SECURITY/PRIVACY               V153E1170401                                 Undetermined

CNA                                   EXCESS DIRECTORS &                     596829990                                    Undetermined
                                      OFFICERS LIABILITY
FEDERAL INSURANCE COMPANY             BUSINESS TRAVEL ACCIDENT               6477-83-74                                   Undetermined

FEDERAL INSURANCE COMPANY             BUSINESS TRAVEL ACCIDENT               9907-86-36                                   Undetermined

FM GLOBAL                             PROPERTY/BUSINESS INCOME               1024282                                      Undetermined

FM GLOBAL                             PROPERTY/BUSINESS INCOME               1036641                                      Undetermined

GEMINI INSURANCE COMPANY              SIDE A DIRECTORS & OFFICERS            BPRO8028551                                  Undetermined
                                      LIABILITY
HARTFORD                              BUSINESS AUTOMOBILE                    U.S.- 10 ABS36302                            Undetermined
                                      COVERAGE
HARTFORD                              BUSINESS AUTOMOBILE                    CAN - 05 CON132507                           Undetermined
                                      COVERAGE
HARTFORD                              COMMERCIAL GENERAL                     U.S. - 10 CSES36301                          Undetermined
                                      LIABILITY
HARTFORD                              COMMERCIAL GENERAL                     CAN. - 10 LIA132198                          Undetermined
                                      LIABILITY
HARTFORD                              COMMERCIAL GENERAL                     CAN. - 05 LIA132198                          Undetermined
                                      LIABILITY
HARTFORD                              WORKERS’ COMPENSATION                  10 WN S36300                                 Undetermined

HARTFORD                              WORKERS’ COMPENSATION                  10 WBR S36304                                Undetermined

LIBERTY INSURANCE                     EXCESS LIABILITY                       1000094412-04                                Undetermined

LIBERTY INSURANCE UNDERWRITERS        EXCESS LIABILITY                       1000094412-05                                Undetermined
INC.
LIBERTY MUTUAL                        UMBRELLA LIABILITY                     TH7-621-094604-17                            Undetermined

LIBERTY MUTUAL                        UMBRELLA LIABILITY                     TH7-621-094604-18                            Undetermined

NATIONAL UNION FIRE INSURANCE         COMMERCIAL CRIME                       01-969-33-25                                 Undetermined
COMPANY OF PITTSBURGH, PA
NATIONAL UNION FIRE INSURANCE         SPECIAL RISKS                          15-516-139                                   Undetermined
COMPANY OF PITTSBURGH, PA
RLI INSURANCE COMPANY                 EXCESS DIRECTORS &                     EPG0019001                                   Undetermined
                                      OFFICERS LIABILITY
ST. PAUL FIRE AND MARINE INSURANCE    EXCESS LIABILITY                       ZUP-71M0215A- 17-NF                          Undetermined

ST. PAUL FIRE AND MARINE INSURANCE    EXCESS LIABILITY                       ZUP-71M0215A- 18-NF                          Undetermined

WESTCHESTER FIRE INSURANCE            EXCESS DIRECTORS &                     G27437394 004                                Undetermined
COMPANY                               OFFICERS LIABILITY



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Debtor Name: KASPER GROUP LLC                                                                   Case Number: 18-10949

                                             Assets - Real and Personal Property

                                Part 11, Question 73: Interests in insurance policies or annuities



                                                                                                             Current value of debtor's
Description                           Policy type                            Policy number
                                                                                                             interest
WESTCHESTER SURPLUS LINES             BUILDINGS, PERSONAL                    I08861791 001                                   Undetermined
INSURANCE COMPANY                     PROPERTY, AND BUSINESS
                                      INCOME
ZURICH AMERICAN INSURANCE             EXCESS DIRECTORS &                     MPL1071332-00                                   Undetermined
COMPANY                               OFFICERS LIABILITY
ZURICH AMERICAN INSURANCE             FOREIGN LIABILITY                      ZE 9155892-03                                   Undetermined
COMPANY
ZURICH AMERICAN INSURANCE             FOREIGN LIABILITY                      ZE 9155892-04                                   Undetermined
COMPANY
                                                                                                     TOTAL                         $0.00
                                                                                                                  + undetermined amounts




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         KASPER GROUP LLC
                             Southern                     New York

                  18-10949




X




CORTLAND CAPITAL MARKET SERVICES LLC
                                                                                              Undetermined       Undetermined

                                          Describe the lien
ATTN: MARIA VILLAGOMEZ AND LEGAL          CO-GUARANTOR - SECURED TERM LOAN
DEPARTMENT
225 W WASHINGTON ST
9TH FLOOR
CHICAGO, IL 60606
                                           X
LEGAL@CORTLANDGLOBAL.COM

                     Undetermined
                                           X



X                                          X
                                           X




WELLS FARGO BANK, NATIONAL
                                                                                              Undetermined       Undetermined
ASSOCIATION, AS ADMINISTRATIVE AGENT
                                          Describe the lien
ATTN: MICHAEL STAVRAKOS                   GUARANTOR TO LETTER OF CREDIT IN THE AMOUNT
ONE BOSTON PLACE                          OF $5,325,000.00 FOR THE BENEFIT OF LIBERTY
19TH FLOOR                                MUTUAL INSURANCE COMPANY.
BOSTON, MA 02108

                                           X

                    Undetermined
                                           X



X                                          X
                                           X




                                                                                              130,527,321.00
                                                                                        + undetermined amounts


                                                                                                                      10
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Debtor           KASPER GROUP LLC                                                                             Case number (if known) 18-10949
                Name




            Additional Page                                                                                                     Column A                 Column B
Part 1:                                                                                                                         Amount of claim          Value of collateral
                                                                                                                                Do not deduct the        that supports this
                                                                                                                                value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.

2.3   Creditor's name                                          Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      WELLS FARGO BANK, NATIONAL
      ASSOCIATION, AS ADMINISTRATIVE AGENT
                                                               Describe the lien
      Creditor's mailing address                               GUARANTOR TO LETTER OF CREDIT IN THE AMOUNT OF
      ATTN: MICHAEL STAVRAKOS                                  $200,000.00 FOR THE BENEFIT OF ATLANTIC SPECIALTY
      ONE BOSTON PLACE                                         INSURANCE CO..
      19TH FLOOR
      BOSTON, MA 02108

      Creditor's email address, if known                       Is the creditor an insider or related party?
                                                                X No
                                                                  Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                   Is anyone else liable on this claim?

                                                                  No
                                                                X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the            As of the petition date, the claim is:
      same property?                                           Check all that apply.
         X No                                                   X Contingent
          Yes. Have you already specified the                   X Unliquidated
               relative priority?                                 Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.4   Creditor's name                                          Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      WELLS FARGO BANK, NATIONAL
      ASSOCIATION, AS ADMINISTRATIVE AGENT
                                                               Describe the lien
      Creditor's mailing address                               GUARANTOR TO LETTER OF CREDIT IN THE AMOUNT OF
      ATTN: MICHAEL STAVRAKOS                                  $7,485,367.12 FOR THE BENEFIT OF 1411 IC-SIC PROPERTY
      ONE BOSTON PLACE                                         LLC.
      19TH FLOOR
      BOSTON, MA 02108

      Creditor's email address, if known                       Is the creditor an insider or related party?
                                                                X No
                                                                  Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                   Is anyone else liable on this claim?

                                                                  No
                                                                X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the            As of the petition date, the claim is:
      same property?                                           Check all that apply.
         X No                                                   X Contingent
          Yes. Have you already specified the                   X Unliquidated
               relative priority?                                 Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines



Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          Page 2 of 10
         18-10947-scc                 Doc 281                Filed 05/21/18 Entered 05/21/18 23:51:56                                  Main Document
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Debtor           KASPER GROUP LLC                                                                             Case number (if known) 18-10949
                Name




            Additional Page                                                                                                     Column A                 Column B
Part 1:                                                                                                                         Amount of claim          Value of collateral
                                                                                                                                Do not deduct the        that supports this
                                                                                                                                value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.5   Creditor's name                                          Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      WELLS FARGO BANK, NATIONAL
      ASSOCIATION, AS ADMINISTRATIVE AGENT
                                                               Describe the lien
      Creditor's mailing address                               GUARANTOR TO LETTER OF CREDIT IN THE AMOUNT OF
      ATTN: MICHAEL STAVRAKOS                                  $275,000.00 FOR THE BENEFIT OF HARTFORD FIRE
      ONE BOSTON PLACE                                         INSURANCE.
      19TH FLOOR
      BOSTON, MA 02108

      Creditor's email address, if known                       Is the creditor an insider or related party?
                                                                X No
                                                                  Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                   Is anyone else liable on this claim?

                                                                  No
                                                                X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the            As of the petition date, the claim is:
      same property?                                           Check all that apply.
         X No                                                   X Contingent
          Yes. Have you already specified the                   X Unliquidated
               relative priority?                                 Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.6   Creditor's name                                          Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      WELLS FARGO BANK, NATIONAL
      ASSOCIATION, AS ADMINISTRATIVE AGENT
                                                               Describe the lien
      Creditor's mailing address                               GUARANTOR TO LETTER OF CREDIT IN THE AMOUNT OF
      ATTN: MICHAEL STAVRAKOS                                  $247,982.40 FOR THE BENEFIT OF CHETRIT 1412 LLC .
      ONE BOSTON PLACE
      19TH FLOOR
      BOSTON, MA 02108

      Creditor's email address, if known                       Is the creditor an insider or related party?
                                                                X No
                                                                  Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                   Is anyone else liable on this claim?

                                                                  No
                                                                X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the            As of the petition date, the claim is:
      same property?                                           Check all that apply.
         X No                                                   X Contingent
          Yes. Have you already specified the                   X Unliquidated
               relative priority?                                 Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          Page 3 of 10
         18-10947-scc                 Doc 281                Filed 05/21/18 Entered 05/21/18 23:51:56                                  Main Document
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Debtor           KASPER GROUP LLC                                                                             Case number (if known) 18-10949
                Name




            Additional Page                                                                                                     Column A                 Column B
Part 1:                                                                                                                         Amount of claim          Value of collateral
                                                                                                                                Do not deduct the        that supports this
                                                                                                                                value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.7   Creditor's name                                          Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      WELLS FARGO BANK, NATIONAL
      ASSOCIATION, AS ADMINISTRATIVE AGENT
                                                               Describe the lien
      Creditor's mailing address                               GUARANTOR TO LETTER OF CREDIT IN THE AMOUNT OF
      ATTN: MICHAEL STAVRAKOS                                  $835,425.24 FOR THE BENEFIT OF 525 DELAWARE LLC .
      ONE BOSTON PLACE
      19TH FLOOR
      BOSTON, MA 02108

      Creditor's email address, if known                       Is the creditor an insider or related party?
                                                                X No
                                                                  Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                   Is anyone else liable on this claim?

                                                                  No
                                                                X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the            As of the petition date, the claim is:
      same property?                                           Check all that apply.
         X No                                                   X Contingent
          Yes. Have you already specified the                   X Unliquidated
               relative priority?                                 Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.8   Creditor's name                                          Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      WELLS FARGO BANK, NATIONAL
      ASSOCIATION, AS ADMINISTRATIVE AGENT
                                                               Describe the lien
      Creditor's mailing address                               GUARANTOR TO LETTER OF CREDIT IN THE AMOUNT OF
      ATTN: MICHAEL STAVRAKOS                                  $1,200,000.00 FOR THE BENEFIT OF HARTFORD FIRE
      ONE BOSTON PLACE                                         INSURANCE COMPANY.
      19TH FLOOR
      BOSTON, MA 02108

      Creditor's email address, if known                       Is the creditor an insider or related party?
                                                                X No
                                                                  Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                   Is anyone else liable on this claim?

                                                                  No
                                                                X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the            As of the petition date, the claim is:
      same property?                                           Check all that apply.
         X No                                                   X Contingent
          Yes. Have you already specified the                   X Unliquidated
               relative priority?                                 Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          Page 4 of 10
         18-10947-scc                 Doc 281                Filed 05/21/18 Entered 05/21/18 23:51:56                                  Main Document
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Debtor           KASPER GROUP LLC                                                                             Case number (if known) 18-10949
                Name




             Additional Page                                                                                                    Column A                 Column B
Part 1:                                                                                                                         Amount of claim          Value of collateral
                                                                                                                                Do not deduct the        that supports this
                                                                                                                                value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.9    Creditor's name                                         Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       WELLS FARGO BANK, NATIONAL
       ASSOCIATION, AS ADMINISTRATIVE AGENT
                                                               Describe the lien
       Creditor's mailing address                              GUARANTOR TO LETTER OF CREDIT IN THE AMOUNT OF
       ATTN: MICHAEL STAVRAKOS                                 $1,175,000.00 FOR THE BENEFIT OF HARTFORD FIRE
       ONE BOSTON PLACE                                        INSURANCE COMPANY.
       19TH FLOOR
       BOSTON, MA 02108

       Creditor's email address, if known                      Is the creditor an insider or related party?
                                                                X No
                                                                  Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                  Is anyone else liable on this claim?

                                                                  No
                                                                X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the           As of the petition date, the claim is:
       same property?                                          Check all that apply.
         X No                                                   X Contingent
           Yes. Have you already specified the                  X Unliquidated
                relative priority?                                Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.10   Creditor's name                                         Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       WELLS FARGO BANK, NATIONAL
       ASSOCIATION, AS ADMINISTRATIVE AGENT
                                                               Describe the lien
       Creditor's mailing address                              GUARANTOR TO LETTER OF CREDIT IN THE AMOUNT OF
       ATTN: MICHAEL STAVRAKOS                                 $6,112,500.00 FOR THE BENEFIT OF ATLANTIC SPECIALTY
       ONE BOSTON PLACE                                        INSURANCE CO. (ONE BEACON COLLATERAL).
       19TH FLOOR
       BOSTON, MA 02108

       Creditor's email address, if known                      Is the creditor an insider or related party?
                                                                X No
                                                                  Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                  Is anyone else liable on this claim?

                                                                  No
                                                                X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the           As of the petition date, the claim is:
       same property?                                          Check all that apply.
         X No                                                   X Contingent
           Yes. Have you already specified the                  X Unliquidated
                relative priority?                                Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           KASPER GROUP LLC                                                                             Case number (if known) 18-10949
                Name




             Additional Page                                                                                                    Column A                 Column B
Part 1:                                                                                                                         Amount of claim          Value of collateral
                                                                                                                                Do not deduct the        that supports this
                                                                                                                                value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.11   Creditor's name                                         Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       WELLS FARGO BANK, NATIONAL
       ASSOCIATION, AS ADMINISTRATIVE AGENT
                                                               Describe the lien
       Creditor's mailing address                              GUARANTOR TO LETTER OF CREDIT IN THE AMOUNT OF
       ATTN: MICHAEL STAVRAKOS                                 $300,000.00 FOR THE BENEFIT OF HARTFORD FIRE
       ONE BOSTON PLACE                                        INSURANCE .
       19TH FLOOR
       BOSTON, MA 02108

       Creditor's email address, if known                      Is the creditor an insider or related party?
                                                                X No
                                                                  Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                  Is anyone else liable on this claim?

                                                                  No
                                                                X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the           As of the petition date, the claim is:
       same property?                                          Check all that apply.
         X No                                                   X Contingent
           Yes. Have you already specified the                  X Unliquidated
                relative priority?                                Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.12   Creditor's name                                         Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       WELLS FARGO BANK, NATIONAL
       ASSOCIATION, AS ADMINISTRATIVE AGENT
                                                               Describe the lien
       Creditor's mailing address                              GUARANTOR TO LETTER OF CREDIT IN THE AMOUNT OF
       ATTN: MICHAEL STAVRAKOS                                 $3,600,000.00 FOR THE BENEFIT OF BANK OF AMERICA N.A.
       ONE BOSTON PLACE
       19TH FLOOR
       BOSTON, MA 02108

       Creditor's email address, if known                      Is the creditor an insider or related party?
                                                                X No
                                                                  Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                  Is anyone else liable on this claim?

                                                                  No
                                                                X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the           As of the petition date, the claim is:
       same property?                                          Check all that apply.
         X No                                                   X Contingent
           Yes. Have you already specified the                  X Unliquidated
                relative priority?                                Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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                                                                          Pg 54 of 115
Debtor           KASPER GROUP LLC                                                                             Case number (if known) 18-10949
                Name




             Additional Page                                                                                                    Column A                 Column B
Part 1:                                                                                                                         Amount of claim          Value of collateral
                                                                                                                                Do not deduct the        that supports this
                                                                                                                                value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.13   Creditor's name                                         Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       WELLS FARGO BANK, NATIONAL
       ASSOCIATION, AS ADMINISTRATIVE AGENT
                                                               Describe the lien
       Creditor's mailing address                              GUARANTOR TO LETTER OF CREDIT IN THE AMOUNT OF
       ATTN: MICHAEL STAVRAKOS                                 $1,197,746.83 FOR THE BENEFIT OF ATLANTIC SPECIALTY
       ONE BOSTON PLACE                                        INSURANCE CO..
       19TH FLOOR
       BOSTON, MA 02108

       Creditor's email address, if known                      Is the creditor an insider or related party?
                                                                X No
                                                                  Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                  Is anyone else liable on this claim?

                                                                  No
                                                                X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the           As of the petition date, the claim is:
       same property?                                          Check all that apply.
         X No                                                   X Contingent
           Yes. Have you already specified the                  X Unliquidated
                relative priority?                                Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.14   Creditor's name                                         Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       WELLS FARGO BANK, NATIONAL
       ASSOCIATION, AS ADMINISTRATIVE AGENT
                                                               Describe the lien
       Creditor's mailing address                              GUARANTOR TO LETTER OF CREDIT IN THE AMOUNT OF
       ATTN: MICHAEL STAVRAKOS                                 $108,600.00 FOR THE BENEFIT OF FP BUILDING 17 LLC.
       ONE BOSTON PLACE
       19TH FLOOR
       BOSTON, MA 02108

       Creditor's email address, if known                      Is the creditor an insider or related party?
                                                                X No
                                                                  Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                  Is anyone else liable on this claim?

                                                                  No
                                                                X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the           As of the petition date, the claim is:
       same property?                                          Check all that apply.
         X No                                                   X Contingent
           Yes. Have you already specified the                  X Unliquidated
                relative priority?                                Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          Page 7 of 10
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Debtor           KASPER GROUP LLC                                                                             Case number (if known) 18-10949
                Name




             Additional Page                                                                                                    Column A                 Column B
Part 1:                                                                                                                         Amount of claim          Value of collateral
                                                                                                                                Do not deduct the        that supports this
                                                                                                                                value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.15   Creditor's name                                         Describe debtor's property that is subject to a lien                  $130,527,321.00         $ Undetermined
       WELLS FARGO BANK, NATIONAL
       ASSOCIATION, AS ADMINISTRATIVE AGENT
                                                               Describe the lien
       Creditor's mailing address                              REVOLVING CREDIT AGREEMENT (ABL & FILO)
       ATTN: MICHAEL STAVRAKOS
       ONE BOSTON PLACE
       19TH FLOOR
       BOSTON, MA 02108

       Creditor's email address, if known                      Is the creditor an insider or related party?
                                                                X No
                                                                  Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                  Is anyone else liable on this claim?

                                                                  No
                                                                X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the           As of the petition date, the claim is:
       same property?                                          Check all that apply.
         X No                                                     Contingent
           Yes. Have you already specified the                    Unliquidated
                relative priority?                                Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          Page 8 of 10
         18-10947-scc           Doc 281          Filed 05/21/18 Entered 05/21/18 23:51:56                                   Main Document
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Debtor         KASPER GROUP LLC                                                                   Case number (if known) 18-10949
              Name




Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no other need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                               On which line in Part 1    Last 4 digits of
         Name and address                                                                                      did you enter the          account number
                                                                                                               related creditor?          for this entity


    WELLS FARGO, N.A. C/O MORGAN, LEWIS & BOCKIUS LLP
    ATTN: MARJORIE S. CRIDER                                                                                      Line 10
    ONE FEDERAL ST.
    BOSTON, MA 02110



    WELLS FARGO, N.A. C/O MORGAN, LEWIS & BOCKIUS LLP
    ATTN: MARJORIE S. CRIDER                                                                                      Line 11
    ONE FEDERAL ST.
    BOSTON, MA 02110



    WELLS FARGO, N.A. C/O MORGAN, LEWIS & BOCKIUS LLP
    ATTN: MARJORIE S. CRIDER                                                                                      Line 12
    ONE FEDERAL ST.
    BOSTON, MA 02110



    WELLS FARGO, N.A. C/O MORGAN, LEWIS & BOCKIUS LLP
    ATTN: MARJORIE S. CRIDER                                                                                      Line 13
    ONE FEDERAL ST.
    BOSTON, MA 02110



    WELLS FARGO, N.A. C/O MORGAN, LEWIS & BOCKIUS LLP
    ATTN: MARJORIE S. CRIDER                                                                                      Line 14
    ONE FEDERAL ST.
    BOSTON, MA 02110



    WELLS FARGO, N.A. C/O MORGAN, LEWIS & BOCKIUS LLP
    ATTN: MARJORIE S. CRIDER                                                                                      Line 15
    ONE FEDERAL ST.
    BOSTON, MA 02110



    WELLS FARGO, N.A. C/O MORGAN, LEWIS & BOCKIUS LLP
    ATTN: MARJORIE S. CRIDER                                                                                      Line 2
    ONE FEDERAL ST.
    BOSTON, MA 02110



    WELLS FARGO, N.A. C/O MORGAN, LEWIS & BOCKIUS LLP
    ATTN: MARJORIE S. CRIDER                                                                                      Line 3
    ONE FEDERAL ST.
    BOSTON, MA 02110



    WELLS FARGO, N.A. C/O MORGAN, LEWIS & BOCKIUS LLP
    ATTN: MARJORIE S. CRIDER                                                                                      Line 4
    ONE FEDERAL ST.
    BOSTON, MA 02110



    WELLS FARGO, N.A. C/O MORGAN, LEWIS & BOCKIUS LLP
    ATTN: MARJORIE S. CRIDER                                                                                      Line 5
    ONE FEDERAL ST.
    BOSTON, MA 02110




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Debtor         KASPER GROUP LLC                                                                   Case number (if known) 18-10949
              Name




Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no other need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                               On which line in Part 1    Last 4 digits of
         Name and address                                                                                      did you enter the          account number
                                                                                                               related creditor?          for this entity

    WELLS FARGO, N.A. C/O MORGAN, LEWIS & BOCKIUS LLP
    ATTN: MARJORIE S. CRIDER                                                                                      Line 6
    ONE FEDERAL ST.
    BOSTON, MA 02110



    WELLS FARGO, N.A. C/O MORGAN, LEWIS & BOCKIUS LLP
    ATTN: MARJORIE S. CRIDER                                                                                      Line 7
    ONE FEDERAL ST.
    BOSTON, MA 02110



    WELLS FARGO, N.A. C/O MORGAN, LEWIS & BOCKIUS LLP
    ATTN: MARJORIE S. CRIDER                                                                                      Line 8
    ONE FEDERAL ST.
    BOSTON, MA 02110



    WELLS FARGO, N.A. C/O MORGAN, LEWIS & BOCKIUS LLP
    ATTN: MARJORIE S. CRIDER                                                                                      Line 9
    ONE FEDERAL ST.
    BOSTON, MA 02110




Official Form 206D              Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                             Page 10 of 10
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          KASPER GROUP LLC
                               Southern                     New York

           18-10949




X




                                                                                 19,537.70       6,680.20
ANGEL R. VELASQUEZ
ADDRESS ON FILE                                X



                                               SEVERANCE CLAIM
Undetermined




                      (4)(A)


                                                                                 24,272.28        713.86
DEMETRIO ROSARIO
ADDRESS ON FILE                                X



                                               SEVERANCE CLAIM
Undetermined




                      (4)(A)


                                                                                 13,117.65       6,795.70
LAIDA ROS
ADDRESS ON FILE                                X




                                               SEVERANCE CLAIM
Undetermined




                      (4)(A)




                                                                                                      30
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Debtor           KASPER GROUP LLC                                                                        Case number (if known) 18-10949
                Name




Part 1.       Additional Page

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                                                                                                            Total claim                    Priority amount
the previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.



2.4      Priority creditor's name and mailing address                                                                       $26,240.90                       $4,563.40


         TAK H LAM                                       As of the petition filing date, the claim is:
         ADDRESS ON FILE                                 Check all that apply.
                                                          X




         Date or dates debt was incurred                 Basis for the claim:
         Undetermined                                    SEVERANCE CLAIM

         Last 4 digits of account number               Is the claim subject to offset?
                                                           No
         Specify code subsection of PRIORITY unsecured     Yes
         claim: 11 U.S.C. § 507(a) ((4)(A))



2.5      Priority creditor's name and mailing address                                                                  $ Undetermined                $ Undetermined


         WASHINGTON B&O, STATE OF                        As of the petition filing date, the claim is:
         KRISTAL HUNT                                    Check all that apply.
         2101 FOURTH AVENUE                               X
         STE. 1400                                        X
         SEATTLE, WA 98121-2300


         Date or dates debt was incurred                 Basis for the claim:
         Undetermined                                    AUDIT CLAIM

         Last 4 digits of account number               Is the claim subject to offset?
                                                           No
         Specify code subsection of PRIORITY unsecured     Yes
         claim: 11 U.S.C. § 507(a) ()




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          KASPER GROUP LLC                                                        18-10949




525 DELAWARE LLC                                                                                            270,964.15
PO BOX 3085
HICKSVILLE, NY 11802-3085


                                                                TRADE PAYABLE

                                  Undetermined




                                                                                                             22,639.73
ADJCO APPAREL HOLDINGS LLC
1412 BROADWAY
NEW YORK, NY 10018


                                                                 TRADE PAYABLE

                                      Undetermined




AGH TRIMSOURCE                                                                                                   53.76
252 W 37TH ST 3RD FL
NEW YORK, NY 10018


                                                                 TRADE PAYABLE

                                      Undetermined




                                                                                                        Undetermined
AMALGAMATED NATIONAL HEALTH FUND
333 WESTCHESTER AVENUE                               X
WHITE PLAINS, NY 10604                               X


                                                                 PENSION CLAIM (NATIONAL RETIREMENT FUND)




                                                                                                        Undetermined
ANGELA O'RILEY
ANGELA LYNN ORILEY                                   X
388 BRIDGE STREET #28E                               X
BROOKLYN, NY 11201

                                                                 TRADE PAYABLE

                                      Undetermined




ARCH SEWING MACHINE CO.                                                                                       1,889.60
659 CALLOWHILL ST
PHILADELPHIA, PA 19123


                                                                 TRADE PAYABLE

                                      Undetermined




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Debtor          KASPER GROUP LLC                                                               Case number (if known) 18-10949
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.7       Nonpriority creditor's name and mailing address                                                                                         $1,954.16

         ARDITO'S BUSINESS MACHINES                                      As of the petition filing date, the claim is:
         238 HIGBIE LANE                                                 Check all that apply.
         WEST ISLIP, NY 11795




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.8       Nonpriority creditor's name and mailing address                                                                                           $19.65

         ASSURED ENVIRONMENTS                                            As of the petition filing date, the claim is:
         RAMAC CORP.                                                     Check all that apply.
         45 BROADWAY 10TH FL
         NEW YORK, NY 10006



                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.9       Nonpriority creditor's name and mailing address                                                                                 $ Undetermined

         ATLANTIC SPECIALTY INSURANCE COMPANY                            As of the petition filing date, the claim is:
         150 ROYALL STREET                                               Check all that apply.
         CANTON, MA 02021
                                                                          X
                                                                          X


                                                                         Basis for the claim: SURETY BOND NUMBER 141003019 FOR THE BENEFIT OF
                                                                         U.S. CUSTOMS AND BORDER PROTECTION.
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.10      Nonpriority creditor's name and mailing address                                                                                          $600.00

         ATOM DESIGN                                                     As of the petition filing date, the claim is:
         443 NEW CROSS RD                                                Check all that apply.
         LONDON SE14 6TA
         UNITED KINGDOM



                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.11      Nonpriority creditor's name and mailing address                                                                                          $872.43

         AVERY DENNISON HONG KONG B.V.                                   As of the petition filing date, the claim is:
         7508, PO BOX 7247                                               Check all that apply.
         PHILADELPHIA, PA 19170-7508




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.12      Nonpriority creditor's name and mailing address                                                                                          $422.80

         BANK OF AMERICA                                                 As of the petition filing date, the claim is:
         PO BOX 15731                                                    Check all that apply.
         WILMINGTON, DE 19886-5731




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.13      Nonpriority creditor's name and mailing address                                                                                          $250.40

         BANK OF AMERICA                                                 As of the petition filing date, the claim is:
         PO BOX 15731                                                    Check all that apply.
         WILMINGTON, VA 19886-5731




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.14      Nonpriority creditor's name and mailing address                                                                                          $374.00

         BEST LINING CORP                                                As of the petition filing date, the claim is:
         1407 BROADWAY STE 2505                                          Check all that apply.
         NEW YORK, NY 10018




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.15      Nonpriority creditor's name and mailing address                                                                                         $1,099.16

         BESTWAY VENDING                                                 As of the petition filing date, the claim is:
         26 EASTERN PKY.                                                 Check all that apply.
         JERSEY CITY, NJ 07305




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.16      Nonpriority creditor's name and mailing address                                                                                         $1,451.00

         BIANCA GROUP LTD                                                As of the petition filing date, the claim is:
         244 WEST 39TH STREET                                            Check all that apply.
         4TH FLOOR
         NEW YORK, NY 10018



                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.17      Nonpriority creditor's name and mailing address                                                                                          $270.00

         BICOASTAL MGMT                                                  As of the petition filing date, the claim is:
         MALIWAWA PRODUCTIONS                                            Check all that apply.
         446 E 86TH ST STE 4F
         NEW YORK, NY 10028



                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.18      Nonpriority creditor's name and mailing address                                                                                          $400.10

         CASS INFORMATION SYSTEMS INC.                                   As of the petition filing date, the claim is:
         PO BOX 17617                                                    Check all that apply.
         TELECOM SERVICES DIVISION
         SAINT LOUIS, MO 63178



                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.19      Nonpriority creditor's name and mailing address                                                                                           $90.10

         CHANG TSI & PARTNERS LIMITED                                    As of the petition filing date, the claim is:
         7/8TH FL TOWER A HUNDRED ISLAND PARK                            Check all that apply.
         BEI ZHAN BEI JIE ST XICHENG DISTRICT
         BEIJING 100044
         CHINA

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.20      Nonpriority creditor's name and mailing address                                                                                         $1,641.97

         CHANG TSI & PARTNERS LIMITED                                    As of the petition filing date, the claim is:
         7/8TH FL TOWER A HUNDRED ISLAND PARK                            Check all that apply.
         BEI ZHAN BEI JIE ST XICHENG DISTRICT
         BEIJING 100044
         CHINA

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.21      Nonpriority creditor's name and mailing address                                                                                         $7,376.65

         CHUNGWOO CORPORATION                                            As of the petition filing date, the claim is:
         645 CHUNG WOO BUILDING                                          Check all that apply.
         YEONGDONG-DAERO GANGNAM-GU
         SEOUL
         KOREA, REPUBLIC OF

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.22      Nonpriority creditor's name and mailing address                                                                                         $1,614.52

         COMMERCE TECHNOLOGIES INC                                       As of the petition filing date, the claim is:
         COMMERCE HUB                                                    Check all that apply.
         25736 NETWORK PLACE
         CHICAGO, IL 60673-1257



                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.23      Nonpriority creditor's name and mailing address                                                                                          $140.43

         COMMUNICAR INC.                                                 As of the petition filing date, the claim is:
         73-10 88TH STREET                                               Check all that apply.
         GLENDALE, NY 11385




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.24      Nonpriority creditor's name and mailing address                                                                                         $1,822.37

         COMMUNICAR INC                                                  As of the petition filing date, the claim is:
         73-10 88TH ST                                                   Check all that apply.
         GLENDALE, NY 11385




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.25      Nonpriority creditor's name and mailing address                                                                                         $1,890.00

         CONSULTING & TESTING SERVICES INC                               As of the petition filing date, the claim is:
         237 WEST 35TH ST SUITE 1201                                     Check all that apply.
         NEW YORK, NY 10001




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.26      Nonpriority creditor's name and mailing address                                                                                          $403.50

         CONTINENTAL COLLECTION HK LTD.                                  As of the petition filing date, the claim is:
         18G FORD GLORY PLAZA                                            Check all that apply.
         37 WING HONG STREET
         LAI CHI KOK
         HONG KONG

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.27      Nonpriority creditor's name and mailing address                                                                                         $1,744.17

         CORSEARCH                                                       As of the petition filing date, the claim is:
         C T CORPORATION SYSTEM                                          Check all that apply.
         PO BOX 4349
         CAROL STREAM, IL 60197-4349



                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.28      Nonpriority creditor's name and mailing address                                                                                    $116,003.78

         DEBRA ANNETTE LANE                                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: SEVERANCE CLAIM

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.29      Nonpriority creditor's name and mailing address                                                                                 $ Undetermined

         DHL EXPRESS (USA) INC                                           As of the petition filing date, the claim is:
         16592 COLLECTIONS CENTER DR                                     Check all that apply.
         CHICAGO, IL 60693
                                                                          X
                                                                          X


                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.30      Nonpriority creditor's name and mailing address                                                                                    $105,353.67

         DIANA LAU                                                       As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: SEVERANCE CLAIM

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.31      Nonpriority creditor's name and mailing address                                                                                          $165.20

         DIVONU INTERNATIONAL                                            As of the petition filing date, the claim is:
         UNIT 03, 7/F YUEN SHING IND., BUILD                             Check all that apply.
         1033 YEE KUK WEST STREET
         LAI CHI KOK
         HONG KONG

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.32      Nonpriority creditor's name and mailing address                                                                                         $3,375.12

         DONNELLY MECHANICAL CORP                                        As of the petition filing date, the claim is:
         9659 22ND ST                                                    Check all that apply.
         QUEENS VILLAGE, NY 11429




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.33      Nonpriority creditor's name and mailing address                                                                                 $ Undetermined

         ELITE MODEL MANAGEMENT CORP                                     As of the petition filing date, the claim is:
         CREATIVE WORLD MANAGEMENT LLC                                   Check all that apply.
         245 FIFTH AVE 24TH FL
         NEW YORK, NY 10016                                               X
                                                                          X


                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.34      Nonpriority creditor's name and mailing address                                                                                    $669,963.12

         ESQUEL ENTERPRISES LIMITED                                      As of the petition filing date, the claim is:
         25 HARBOUR ROAD WANCHAI                                         Check all that apply.
         13/F HARBOUR CENTRE
         HONG KONG
         HONG KONG

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.35      Nonpriority creditor's name and mailing address                                                                                 $ Undetermined

         FANCY SOHO ENTERPRISE LIMITED                                   As of the petition filing date, the claim is:
         NO 102 JIANGDONG MIDDLE ROAD                                    Check all that apply.
         10 FLOOR BUILDING A WANDA PLAZA
         NANJING 210006                                                   X
         CHINA                                                            X


                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.36      Nonpriority creditor's name and mailing address                                                                                          $792.29

         FEDEX                                                           As of the petition filing date, the claim is:
         3875 AIRWAYS BLVD MODULE H 3RD FL                               Check all that apply.
         MEMPHIS, TN 38116




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.37      Nonpriority creditor's name and mailing address                                                                                          $320.04

         FINELINE TECHNOLOGIES INC.                                      As of the petition filing date, the claim is:
         PO BOX 934219                                                   Check all that apply.
         ATLANTA, GA 31193-4219




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.38      Nonpriority creditor's name and mailing address                                                                                      $6,600.00

         FIT MODELS LLC                                                  As of the petition filing date, the claim is:
         124 EAST 40TH STREET                                            Check all that apply.
         NEW YORK, NY 10016




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.39      Nonpriority creditor's name and mailing address                                                                                      $1,941.81

         FTN CO LTD                                                      As of the petition filing date, the claim is:
         197-28 DREAM TOWER 12TH ENC VENTURE                             Check all that apply.
         GURO-DONG GURO-GU
         SEOUL 152-719                                                    X
         KOREA, REPUBLIC OF

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.40      Nonpriority creditor's name and mailing address                                                                                $ Undetermined

         G&G GARMENTS II LTD                                             As of the petition filing date, the claim is:
         231 W 39TH STREET                                               Check all that apply.
         SUITE 814
         NEW YORK, NY 10018                                               X
                                                                          X


                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.41      Nonpriority creditor's name and mailing address                                                                                     $14,247.12

         GARMENT 10 CORPORATION JSC                                      As of the petition filing date, the claim is:
         765 NGUYEN VAN LINH SAIDONG WARDS                               Check all that apply.
         LONG BIEN DISTRICT
         HANOI 10000                                                      X
         VIETNAM

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.42      Nonpriority creditor's name and mailing address                                                                                    $476,129.36

         GEODIS USA INC FORMERLY OHL INTERNATIONAL                       As of the petition filing date, the claim is:
         62216 COLLECTIONS CENTER DR                                     Check all that apply.
         CHICAGO, IL 60693-0622




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.43      Nonpriority creditor's name and mailing address                                                                                      $2,974.70

         GERBER TECHNOLOGY INC                                           As of the petition filing date, the claim is:
         PO BOX 95060                                                    Check all that apply.
         CHICAGO, IL 60694-5060




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.44      Nonpriority creditor's name and mailing address                                                                                $ Undetermined

         GLAS TRUST COMPANY LLC                                          As of the petition filing date, the claim is:
         ATTN: ADAM BERMAN, VICE PRESIDENT                               Check all that apply.
         230 PARK AVENUE
         10TH FLOOR                                                       X
         NEW YORK, NY 10169                                               X


                                                                         Basis for the claim: CO-GUARANTOR - UNSECURED TERM LOAN

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.45      Nonpriority creditor's name and mailing address                                                                                $ Undetermined

         GUANGZHOU HAOYUAN CLOTHING LTD                                  As of the petition filing date, the claim is:
         NINGXI GUO CHUN INDUSTRIAL ZONE                                 Check all that apply.
         XINTANG
         GUANGZHOU 511340                                                 X
         CHINA                                                            X


                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.46      Nonpriority creditor's name and mailing address                                                                                          $677.90

         GUIDE FABRIC INC                                                As of the petition filing date, the claim is:
         262 W 38TH ST                                                   Check all that apply.
         NEW YORK, NY 10018




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          KASPER GROUP LLC                                                               Case number (if known) 18-10949
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.47      Nonpriority creditor's name and mailing address                                                                                           $20.00

         HANNAH MARSDEN                                                  As of the petition filing date, the claim is:
         2339 N. COMMONWEALTH #3D                                        Check all that apply.
         CHICAGO, IL 60614
                                                                          X



                                                                         Basis for the claim: UNCLAIMED PROPERTY CLAIM

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.48      Nonpriority creditor's name and mailing address                                                                                     $48,087.38

         HANSAE CO LTD                                                   As of the petition filing date, the claim is:
         YEOUIDO DONG 5F                                                 Check all that apply.
         29 EUNHAENG RO YEONGDEUNGPO GU
         SEOUL 150-739                                                    X
         KOREA, REPUBLIC OF

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.49      Nonpriority creditor's name and mailing address                                                                                      $3,960.00

         HIGH FASHION GARMENTS CO LTD                                    As of the petition filing date, the claim is:
         1-11 KWAI HEI ST 11/F                                           Check all that apply.
         HIGH FASHION CENTRE
         KWAI CHUNG
         HONG KONG

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.50      Nonpriority creditor's name and mailing address                                                                                          $202.13

         HIGH HOPE INT'L GROUP                                           As of the petition filing date, the claim is:
         NEWEST APPAREL CORP LTD                                         Check all that apply.
         109 SOFOTWARE AVE
         NANJING 210012
         CHINA

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.51      Nonpriority creditor's name and mailing address                                                                                    $101,708.67

         HONGS INTERNATIONAL LTD.                                        As of the petition filing date, the claim is:
         302 GALMACHI-RO                                                 Check all that apply.
         JUNGWON-GU
         SEONGNAM 462-120                                                 X
         KOREA, REPUBLIC OF

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.52      Nonpriority creditor's name and mailing address                                                                                          $219.17

         HUDSON'S BAY COMPANY FOUNDATION                                 As of the petition filing date, the claim is:
         C/O HBC COMMUNITY INVESTMENT                                    Check all that apply.
         401 BAY ST STE 1410
         TORONTO, ON M5H 2Y4
         CANADA

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.53      Nonpriority creditor's name and mailing address                                                                                     $71,533.88

         HUXING INTERNATIONAL INC                                        As of the petition filing date, the claim is:
         241 W 37TH ST STE 1105                                          Check all that apply.
         NEW YORK, NY 10018




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.54      Nonpriority creditor's name and mailing address                                                                                $ Undetermined

         HUZHOU JIUXING IMPORT & EXPORT CO L                             As of the petition filing date, the claim is:
         NO 66 XIN FENG DOU VILLAGE                                      Check all that apply.
         SHUANGLIN TOWN
         HUZHOU CITY                                                      X
         HUZHOU 313012                                                    X
         CHINA
                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.55      Nonpriority creditor's name and mailing address                                                                                     $71,710.26

         IDX CORPORATION                                                 As of the petition filing date, the claim is:
         PO BOX 204407                                                   Check all that apply.
         DALLAS, TX 75320-4407




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.56      Nonpriority creditor's name and mailing address                                                                                          $224.26

         INTEGRATED LOGISTICS LLC                                        As of the petition filing date, the claim is:
         20 GRANITE DRIVE                                                Check all that apply.
         NORWALK, CT 06851




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.57      Nonpriority creditor's name and mailing address                                                                                          $806.40

         INTERTEK TESTING SERVICES HONG KONG                             As of the petition filing date, the claim is:
         576 CASTLE PEAK ROAD                                            Check all that apply.
         ROOM I-K 11/F GARMENT CENTRE
         KOWLOON, KLN
         HONG KONG

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.58      Nonpriority creditor's name and mailing address                                                                                          $442.74

         INTERTEK TESTING SERVICES HONG KONG                             As of the petition filing date, the claim is:
         1-K 11/F GARMENT CENTRE                                         Check all that apply.
         576 CASTLE PEAK RD
         ATTN: FINANCE DEPT
         KOWLOON
         HONG KONG
                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.59      Nonpriority creditor's name and mailing address                                                                                     $18,111.56

         JAY JAEYUN KIM                                                  As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: SEVERANCE CLAIM

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.60      Nonpriority creditor's name and mailing address                                                                                 $66,785,106.80

         JH APPAREL (US) LLC                                             As of the petition filing date, the claim is:
         1411 BROADWAY                                                   Check all that apply.
         NEW YORK, NY 10018




                                                                         Basis for the claim: INTERCOMPANY PAYABLE

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.61      Nonpriority creditor's name and mailing address                                                                                    $172,704.81

         JIANGSU GUOTAI INT'L GROUP GUOM                                 As of the petition filing date, the claim is:
         23/F GUOTAI TIMES PLAZA BLDG A                                  Check all that apply.
         NO 65 RENMIN RD
         ZHANGJIAGANG 215600                                              X
         CHINA

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.62      Nonpriority creditor's name and mailing address                                                                                $ Undetermined

         JIANGSU GUOTAI INTERNATIONAL GROUP GUOMAO CO., LTD              As of the petition filing date, the claim is:
         11/F NO. 65 RENMIN ROAD GUOTAI TIME                             Check all that apply.
         ZHANGJIAGANG 215600
         CHINA                                                            X
                                                                          X


                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.63      Nonpriority creditor's name and mailing address                                                                                    $318,674.54

         JIANGSU GUOTAI INTL GROUP GUOHUA CO                             As of the petition filing date, the claim is:
         26F TOWER A GUOTAI FINANCE PLAZA                                Check all that apply.
         GANGCHENG ROAD
         ZHANGJIAGANG 215600                                              X
         CHINA

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.64      Nonpriority creditor's name and mailing address                                                                                      $6,500.00

         JM MESA SERVICES                                                As of the petition filing date, the claim is:
         110 WILLIAMS ST 14TH FLR                                        Check all that apply.
         NEW YORK, NY 10038




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.65      Nonpriority creditor's name and mailing address                                                                                $ Undetermined

         JUNG KWANG IND CO LTD                                           As of the petition filing date, the claim is:
         1390 SHIN SUNG B/D 3F                                           Check all that apply.
         YANGJAE-DEARO GANGDONG-GU
         SEOUL 134-060                                                    X
         KOREA, REPUBLIC OF                                               X


                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.66      Nonpriority creditor's name and mailing address                                                                                   $3,118,228.94

         KASPER GLOBAL LIMITED                                           As of the petition filing date, the claim is:
         12/F, TOWER I, METROPLAZA                                       Check all that apply.
         223 HING FONG ROAD
         UNIT NO.S 1701-1708 & 1723-1725
         KWAI FUNG, NEW TERRITORIES
         HONG KONG
                                                                         Basis for the claim: INTERCOMPANY PAYABLE

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.67      Nonpriority creditor's name and mailing address                                                                                     $40,844.65

         LAKEWILL SILK & GARMENT LIMITED                                 As of the petition filing date, the claim is:
         UNIT 05-07,35/F                                                 Check all that apply.
         CLIFFORD CENTRE
         778-784 CHEUNG SHA WAN ROAD                                      X
         LAI CHI KOK, KLN
         HONG KONG
                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.68      Nonpriority creditor's name and mailing address                                                                                      $2,418.48

         LECTRA USA INC                                                  As of the petition filing date, the claim is:
         PO BOX 198501                                                   Check all that apply.
         ATLANTA, GA 30384-8501




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.69      Nonpriority creditor's name and mailing address                                                                                $ Undetermined

         LEUNG, ALICE Y.                                                 As of the petition filing date, the claim is:
         C/O DEREK SMITH LAW GROUP PLLC                                  Check all that apply.
         30 BROAD STREET
         35TH FLOOR                                                       X
         NEW YORK, NY 10004                                               X
                                                                          X

                                                                         Basis for the claim: LITIGATION CLAIM

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.70      Nonpriority creditor's name and mailing address                                                                                $ Undetermined

         LOCAL 10, NEW YORK METROPOLITAN AREA JOINT BOARD,               As of the petition filing date, the claim is:
         WORKERS UNITED                                                  Check all that apply.
         ATTENTION: RICHARD GUIDO, ASSOCIATE MANAGER
         33 WEST 14TH STREET                                              X
         NEW YORK, NY 10011                                               X


                                                                         Basis for the claim: UNION CLAIM

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.71      Nonpriority creditor's name and mailing address                                                                                $ Undetermined

         LOCAL 89-22-1, NEW YORK METROPOLITAN AREA JOINT BOARD,          As of the petition filing date, the claim is:
         WORKERS UNITED                                                  Check all that apply.
         ATTENTION: RICHARD GUIDO, ASSOCIATE MANAGER
         33 WEST 14TH STREET                                              X
         NEW YORK, NY 10011                                               X


                                                                         Basis for the claim: UNION CLAIM

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.72      Nonpriority creditor's name and mailing address                                                                                           $54.15

         LONG,JOSIE                                                      As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X



                                                                         Basis for the claim: UNCLAIMED PROPERTY CLAIM

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.73      Nonpriority creditor's name and mailing address                                                                                          $302.50

         MARVAL & O'FARRELL                                              As of the petition filing date, the claim is:
         AV LEANDRO N ALEM 928                                           Check all that apply.
         BUENOS AIRES 1001
         ARGENTINA



                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.74      Nonpriority creditor's name and mailing address                                                                                          $128.47

         MIDTOWN PAPER INC                                               As of the petition filing date, the claim is:
         254 W 35TH ST 10TH FLR                                          Check all that apply.
         NEW YORK, NY 10001




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.75      Nonpriority creditor's name and mailing address                                                                                          $176.57

         MOREDIRECT INC DBA CONNECTION                                   As of the petition filing date, the claim is:
         P.O. BOX 536464                                                 Check all that apply.
         PITTSBURGH, PA 15253-5906




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.76      Nonpriority creditor's name and mailing address                                                                                     $15,848.48

         NACK SOOK LEE                                                   As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: SEVERANCE CLAIM

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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3.77      Nonpriority creditor's name and mailing address                                                                                   $1,339,038.61

         NAMLEE INTERNATIONAL CO LTD                                     As of the petition filing date, the claim is:
         WESTERN SUBDIVISION, PHU THAI INDUS                             Check all that apply.
         PHU THAI TOWN, KIM THANH DIST
         HAI DUONG 34000                                                  X
         VIETNAM

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.78      Nonpriority creditor's name and mailing address                                                                                    $179,545.79

         NAMYANG INTERNATIONAL CO LTD                                    As of the petition filing date, the claim is:
         511 YOUNG-DONG ROAD                                             Check all that apply.
         ROOM 2402 KOREA WORLD TRADE CENTER
         KANGNAM-GU                                                       X
         SEOUL 135-729
         KOREA, REPUBLIC OF
                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.79      Nonpriority creditor's name and mailing address                                                                                $ Undetermined

         NEWTIMES FAR EAST DEVELOPMENT (HK)                              As of the petition filing date, the claim is:
         760-762 CHEUNG SHA WAN ROAD                                     Check all that apply.
         KOWLOON 00000
         HONG KONG                                                        X
                                                                          X


                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.80      Nonpriority creditor's name and mailing address                                                                                          $675.00

         NINE WEST DEVELOPMENT LLC                                       As of the petition filing date, the claim is:
         1411 BROADWAY                                                   Check all that apply.
         NEW YORK, NY 10018




                                                                         Basis for the claim: INTERCOMPANY PAYABLE

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.81      Nonpriority creditor's name and mailing address                                                                                      $6,734.28

         NINE WEST DISTRIBUTION LLC                                      As of the petition filing date, the claim is:
         180 RITTENHOUSE CIRCLE                                          Check all that apply.
         BRISTOL, PA 19007




                                                                         Basis for the claim: INTERCOMPANY PAYABLE

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.82      Nonpriority creditor's name and mailing address                                                                                   $7,161,730.07

         NINE WEST HOLDINGS, INC.                                        As of the petition filing date, the claim is:
         180 RITTENHOUSE CIRCLE                                          Check all that apply.
         BRISTOL, PA 19007




                                                                         Basis for the claim: INTERCOMPANY PAYABLE

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.83      Nonpriority creditor's name and mailing address                                                                                   $3,920,898.05

         NINE WEST MANAGEMENT SERVICE LLC                                As of the petition filing date, the claim is:
         180 RITTENHOUSE CIRCLE                                          Check all that apply.
         BRISTOL, PA 19007




                                                                         Basis for the claim: INTERCOMPANY PAYABLE

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.84      Nonpriority creditor's name and mailing address                                                                                     $51,086.76

         NINGBO FANHUA IMP & EXP CO. LTD.                                As of the petition filing date, the claim is:
         NO 38 YOUNGER RD                                                Check all that apply.
         NINGBO 315153
         CHINA                                                            X



                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.85      Nonpriority creditor's name and mailing address                                                                                      $1,554.00

         NY METROPOLITAN AREA JOINT BOARD WU                             As of the petition filing date, the claim is:
         33 WEST 14TH STREET                                             Check all that apply.
         NEW YORK, NY 10011




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.86      Nonpriority creditor's name and mailing address                                                                                      $1,596.76

         OC TANNER RECOGNITON COMPANY                                    As of the petition filing date, the claim is:
         1930 SOUTH STATE ST                                             Check all that apply.
         SALT LAKE CITY, UT 84115




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.87      Nonpriority creditor's name and mailing address                                                                                   $2,119,125.73

         ONE JEANSWEAR GROUP INC.                                        As of the petition filing date, the claim is:
         1441 BROADWAY                                                   Check all that apply.
         NEW YORK, NY 10018




                                                                         Basis for the claim: INTERCOMPANY PAYABLE

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.88      Nonpriority creditor's name and mailing address                                                                                          $800.22

         OSCAR SCHACHNER & SON EXPERT SEWING                             As of the petition filing date, the claim is:
         MACHINE CO INC                                                  Check all that apply.
         PO BOX 7740
         NEW YORK, NY 10116



                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.89      Nonpriority creditor's name and mailing address                                                                                          $433.60

         PAXAR CHINA LTD                                                 As of the petition filing date, the claim is:
         15/F & 16/F OCTA TOWER, 8 LAM CHAK                              Check all that apply.
         KOWLOON BAY, KLN
         HONG KONG



                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.90      Nonpriority creditor's name and mailing address                                                                                          $211.04

         PAYFLEX SYSTEMS USA INC                                         As of the petition filing date, the claim is:
         10802 FARNAM DR STE 100                                         Check all that apply.
         OMAHA, NE 68154




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.91      Nonpriority creditor's name and mailing address                                                                                $ Undetermined

         PENSION BENEFIT GUARANTY CORPORATION                            As of the petition filing date, the claim is:
         PO BOX 151750                                                   Check all that apply.
         ALEXANDRIA, VA 22315-1750
                                                                          X
                                                                          X


                                                                         Basis for the claim: PENSION CLAIM

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.92      Nonpriority creditor's name and mailing address                                                                                $ Undetermined

         PHUC KHANG GARMENTS CO LTD                                      As of the petition filing date, the claim is:
         3/39A LANE NO. 92 PHAN HUY ICH ST                               Check all that apply.
         WARD 15 TAN BINH DISTRICT
         HO CHI MINH 70000                                                X
         VIETNAM                                                          X


                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.93      Nonpriority creditor's name and mailing address                                                                                $ Undetermined

         POLARGOOSE CLOTHING CO LTD                                      As of the petition filing date, the claim is:
         88 ZHENXI                                                       Check all that apply.
         SHUANGLIN
         HUZHOU 313012                                                    X
         CHINA                                                            X


                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.94      Nonpriority creditor's name and mailing address                                                                                      $2,255.87

         PORT LOGISTICS GROUP                                            As of the petition filing date, the claim is:
         288 MAYO AVE                                                    Check all that apply.
         CITY OF INDUSTRY, CA 91789




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.95      Nonpriority creditor's name and mailing address                                                                                          $233.44

         PRECISION CUSTOM COATINGS LLC                                   As of the petition filing date, the claim is:
         200 MALTESE DRIVE                                               Check all that apply.
         TOTOWA, NJ 07512-1404




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.96      Nonpriority creditor's name and mailing address                                                                                $ Undetermined

         PRINCE OF SCOTS, LLC                                            As of the petition filing date, the claim is:
         C/O FREIBERGER HABER LLP                                        Check all that apply.
         105 MAXESS ROAD
         SUITE S124                                                       X
         MELVILLE, NY 11747                                               X
                                                                          X

                                                                         Basis for the claim: LITIGATION CLAIM

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          KASPER GROUP LLC                                                               Case number (if known) 18-10949
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.97      Nonpriority creditor's name and mailing address                                                                                     $40,073.26

         PT SAHABAT UNGGUL INTL                                          As of the petition filing date, the claim is:
         JL JEND ACHMAD YANI NO 28                                       Check all that apply.
         TANAH SAREAL
         BOGOR 16161
         INDONESIA

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.98      Nonpriority creditor's name and mailing address                                                                                          $622.51

         RODYK & DAVIDSON LLP                                            As of the petition filing date, the claim is:
         80 RAFFLES PL #33-00 UOB PLAZA 1                                Check all that apply.
         SG 048624
         SINGAPORE



                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.99      Nonpriority creditor's name and mailing address                                                                                      $3,739.55

         SANDLER TRAVIS & ROSENBERG PA                                   As of the petition filing date, the claim is:
         PO BOX 935173                                                   Check all that apply.
         ATLANTA, GA 31193-5173




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.100     Nonpriority creditor's name and mailing address                                                                                $ Undetermined

         SANDRA SINGH                                                    As of the petition filing date, the claim is:
         107-24 VANWYCK EXPRESSWAY                                       Check all that apply.
         RICHMOND HILL, NY 11419
                                                                          X
                                                                          X


                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.101     Nonpriority creditor's name and mailing address                                                                                     $14,756.64

         SANTEX COMPANY LIMITED                                          As of the petition filing date, the claim is:
         UNIT C 11 FLOOR ZHU KUAN MANSION 10                             Check all that apply.
         XIAN XING HAI
         MACAU                                                            X
         MACAU

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.102     Nonpriority creditor's name and mailing address                                                                                           $57.42

         SCHEMAN & GRANT, INC.                                           As of the petition filing date, the claim is:
         545 EIGHTH AVENUE                                               Check all that apply.
         NEW YORK, NY 10018-3090




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.103     Nonpriority creditor's name and mailing address                                                                                          $117.48

         SCHEMAN'S BRYANT PARK                                           As of the petition filing date, the claim is:
         A3&K LLC                                                        Check all that apply.
         55 W 39TH ST
         NEW YORK, NY 10018



                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.104     Nonpriority creditor's name and mailing address                                                                                           $15.00

         SECRETARY OF STATE OF TEXAS                                     As of the petition filing date, the claim is:
         PO BOX 13697                                                    Check all that apply.
         AUSTIN, TX 78711-3697




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.105     Nonpriority creditor's name and mailing address                                                                                     $16,926.16

         SEYFARTH SHAW LLP                                               As of the petition filing date, the claim is:
         3807 COLLECTIONS CENTER DRIVE                                   Check all that apply.
         CHICAGO, IL 60693




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.106     Nonpriority creditor's name and mailing address                                                                                          $270.70

         SHAPIRO BROS. CO. INC.                                          As of the petition filing date, the claim is:
         259 W. FAYETTE ST                                               Check all that apply.
         SYRACUSE, NY 13202




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          KASPER GROUP LLC                                                               Case number (if known) 18-10949
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.107     Nonpriority creditor's name and mailing address                                                                                   $1,349,323.48

         ST. WONDERFUL INTERNATIONAL GROUP LTD                           As of the petition filing date, the claim is:
         161-7 DES VOEUX RD                                              Check all that apply.
         CENTRAL HK TRADE CENTRE 7TH FL
         KOWLOON                                                          X
         HONG KONG

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.108     Nonpriority creditor's name and mailing address                                                                                    $169,567.28

         SUSAN BALZANO                                                   As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: SEVERANCE CLAIM

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.109     Nonpriority creditor's name and mailing address                                                                                   $1,144,477.45

         SYCAMORE PARTNERS MANAGEMENT LLC                                As of the petition filing date, the claim is:
         9 W 57TH ST 31ST FL                                             Check all that apply.
         NEW YORK, NY 10019-2701




                                                                         Basis for the claim: INTERCOMPANY PAYABLE

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.110     Nonpriority creditor's name and mailing address                                                                                    $316,619.71

         TEAM GRAPE CO LTD                                               As of the petition filing date, the claim is:
         7F 7 DOSAN-DAERO 24 GIL                                         Check all that apply.
         SEOUL
         KOREA, REPUBLIC OF



                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.111     Nonpriority creditor's name and mailing address                                                                                          $982.08

         TMI ASSOCIATES                                                  As of the petition filing date, the claim is:
         23RD FL, ROPPONGI HILLS MORI TOWER                              Check all that apply.
         6-10-1 ROPPONGI HILLS MORI TOWER
         TOKYO 106-6123
         JAPAN

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.112     Nonpriority creditor's name and mailing address                                                                                $ Undetermined

         TONGLU SPRING RIVER KNITTING GROUP                              As of the petition filing date, the claim is:
         333 DONGXING ROAD                                               Check all that apply.
         TONGLU COUNTY ZHEJIANG PROVINCE
         HANGZHOU 311500                                                  X
         CHINA                                                            X


                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.113     Nonpriority creditor's name and mailing address                                                                                     $75,802.28

         TRENDY WEAR PVT LTD                                             As of the petition filing date, the claim is:
         459 1 KANDY ROAD                                                Check all that apply.
         RANMUTHUGALA
         KADAWATA 60350                                                   X
         SRI LANKA

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.114     Nonpriority creditor's name and mailing address                                                                                    $460,351.04

         TRISTATE TRADING LIMITED MCO                                    As of the petition filing date, the claim is:
         RUA DE LUIS GONZAGA GOMES NO 14                                 Check all that apply.
         EDIFICIO KING XIU GARDEN
         E3 B EM                                                          X
         MACAU
         MACAU
                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.115     Nonpriority creditor's name and mailing address                                                                                           $95.00

         TWIN CITY CHINA LIMITED                                         As of the petition filing date, the claim is:
         128 JOHNSTON RD FLAT A 19/F                                     Check all that apply.
         TOI SHAN CENTR
         WAN CHAI
         HONG KONG

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.116     Nonpriority creditor's name and mailing address                                                                                          $694.26

         TWINTEX INDUSTRIA DE CONFECCOES LDA                             As of the petition filing date, the claim is:
         AVENIDA ANTONIO MINEIRO                                         Check all that apply.
         FUNDAO 6234
         PORTUGAL



                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.117     Nonpriority creditor's name and mailing address                                                                                      $1,495.00

         UNCOMMON FOUNDRY INC                                            As of the petition filing date, the claim is:
         257 WEST 39TH STREET, 15/F WEST                                 Check all that apply.
         NEW YORK, NY 10018




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.118     Nonpriority creditor's name and mailing address                                                                                   $3,133,052.23

         UNITED SOURCENET PTE LTD                                        As of the petition filing date, the claim is:
         10 ANSON RD                                                     Check all that apply.
         23-14U INTERNATIONAL PLAZA
         SINGAPORE 079903                                                 X
         SINGAPORE

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.119     Nonpriority creditor's name and mailing address                                                                                    $242,847.06

         UNIVERSAL EXPRESS GARMENTS LTD                                  As of the petition filing date, the claim is:
         101 KING'S RD RM 2402                                           Check all that apply.
         24/F SING PAO BUILDING
         FORTRESS HILL                                                    X
         HONG KONG

                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.120     Nonpriority creditor's name and mailing address                                                                                          $169.84

         USA SHRED LLC                                                   As of the petition filing date, the claim is:
         56-01 NURGE AVE                                                 Check all that apply.
         MASPETH, NY 11378




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.121     Nonpriority creditor's name and mailing address                                                                                     $19,248.75

         UWAY PACKAGING SUPPLIES                                         As of the petition filing date, the claim is:
         16710 VENTURA BLVD                                              Check all that apply.
         ENCINO, CA 91436




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.122     Nonpriority creditor's name and mailing address                                                                                     $41,242.28

         VIKTORIA O GRABBE                                               As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: SEVERANCE CLAIM

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.123     Nonpriority creditor's name and mailing address                                                                                $ Undetermined

         WAGE WORKS                                                      As of the petition filing date, the claim is:
         1100 PARK PLACE                                                 Check all that apply.
         4TH FLOOR
         SAN MATEO, CA 94403                                              X
                                                                          X


                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.124     Nonpriority creditor's name and mailing address                                                                                     $60,721.27

         WESTROCK CP LLC                                                 As of the petition filing date, the claim is:
         WESTROCK RKT COMPANY                                            Check all that apply.
         14079 COLLECTIONS CENTER DR
         CHICAGO, IL 60693



                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.125     Nonpriority creditor's name and mailing address                                                                                    $187,351.81

         WISHBONE CO LTD                                                 As of the petition filing date, the claim is:
         8-32 YANGJAE-DONG                                               Check all that apply.
         WISHBONE HOUSE
         SEOCHO-KU
         SEOUL 137-130
         KOREA, REPUBLIC OF
                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.126     Nonpriority creditor's name and mailing address                                                                                $ Undetermined

         XIAMEN YOUNGPACK IMP AND EXP CO LTD                             As of the petition filing date, the claim is:
         ROOM 1602, NO 506                                               Check all that apply.
         CANGLINDONG YILI
         XIAMEN                                                           X
         CHINA                                                            X


                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.127     Nonpriority creditor's name and mailing address                                                                                          $662.64

         XYZ TWO WAY RADIO SERVICE INC                                   As of the petition filing date, the claim is:
         P.O BOX 159033                                                  Check all that apply.
         BROOKLYN, NY 11215




                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.128     Nonpriority creditor's name and mailing address                                                                                    $189,272.89

         YAN MAN INTERNATIONAL CO LTD                                    As of the petition filing date, the claim is:
         PO BOX 3444                                                     Check all that apply.
         TRUSTNET CHAMBERS
         ROADTOWN                                                         X
         TORTOLA 10688
         VIRGIN ISLANDS
                                                                         Basis for the claim: TRADE PAYABLE

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes




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               Name




 Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.
If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



      Name and mailing address                                                                 On which line in Part 1 or Part 2 is           Last 4 digits of
                                                                                               the related creditor (if any) listed?          account number, if
                                                                                                                                              any




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    KASPER GROUP LLC                                           18-10949




                                                                                         83,168.53
                                                                             + undetermined amounts




                                                                                    94,753,017.89
                                                                             + undetermined amounts




                                                                                    94,836,186.42
                                                                             + undetermined amounts




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    KASPER GROUP LLC

                       Southern
                                                       New York
            18-10949                                       11




X




                          LICENSING AGREEMENT - ABG-JONES, LLC    ABG-JONES LLC
                          - DATED - 04/21/2015                    C/O AUTHENTIC BRANDS GROUP, LLC
                                                                  100 WEST 33RD STREET
                                                                  SUITE 1007
                                                                  NEW YORK, NY 10001




                          SERVICE AGREEMENT - ADP, INC. -         ADP LLC
                          PAYROLL SERVICES MASTER SERVICE         ONE ADP BOULEVARD, MS 425
                          AGREEMENT - CORPORATE - DATED -         ROSEDALE, NJ 07068
                          10/14/2009




                          OCEAN CARGO/INLAND TRANSIT              ALLIANZ GLOBAL CORPORATE & SPECIALTY
                          INSURANCE - POLICY NUMBER - OC & OCW    28 LIBERTY STREET
                          91235000 - DATED - 04/08/2017           NEW YORK, NY 10005




                          INSURANCE AGREEMENT - ALLIANZ -         ALLIANZ
                          DATED - 04/08/2017                      1 CHASE MANHATTAN PLAZA #37
                                                                  NEW YORK, NY 10005




                          APPLICATION FOR EXCESS LOSS             AMERICAN ALTERNATIVE INSURANCE CORPORATION
                          INSURANCE DATED AS OF 1/1/2018          ATTN: ADMINSTRATION OFFICE
                                                                  555 COLLEGE ROAD EAST
                                                                  PRINCETON, NJ 08543-5421




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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                       State the name and mailing address for all other parties with whom
                                                                              the debtor has an executory contract or unexpired lease

                                                                              AMERICAN EXPRESS
            State what the contract or     SERVICE AGREEMENT -
                                                                              ATTN: DEPARTMENT 87
            lease is for and the nature    AMERICAN EXPRESS CARD
2.6                                                                           PO BOX 299051
            of the debtor’s interest       ACCEPTANCE AGREEMENT FOR
                                                                              FORT LAUDERDALE, FL 33329
                                           KASPER - DATED - 01/15/2015

            State the term remaining
            List the contract number of
            any government contract
                                                                              ANATWINE LIMITED
            State what the contract or     ANATWINE MACYS VENDOR
                                                                              EAGLE TOWER
            lease is for and the nature    DIRECT-TO-CONSUMER
2.7                                                                           MONTPELLIER DRIVE
            of the debtor’s interest       AGREEMENT DATED 3/5/2017
                                                                              CHELTENHAM
                                                                              GL52 2PX
                                                                              UNITED KINGDOM
            State the term remaining
            List the contract number of
            any government contract
                                                                              ANGEL R. VELASQUEZ
            State what the contract or     SEVERANCE AGREEMENT -
                                                                              ADDRESS ON FILE
            lease is for and the nature    RELEASE AND COVENANT NOT TO
2.8
            of the debtor’s interest       SUE - DATED - 02/08/2018


            State the term remaining
            List the contract number of
            any government contract
                                                                              ARAM LEE LLC
            State what the contract or     CONSULTING AGREEMENT - ARAM
                                                                              272 ST NICHOLAS AVE
            lease is for and the nature    LEE LLC - DATED - 07/25/2016
2.9                                                                           APT #1
            of the debtor’s interest
                                                                              BROOKLYN, NY 11237


            State the term remaining
            List the contract number of
            any government contract
                                                                              ASSURED ENVIRONMENTS
            State what the contract or     SERVICE AGREEMENT - PEST
                                                                              PO BOX 600847
            lease is for and the nature    CONTROL - 2017 - DATED -
2.10                                                                          JACKSONVILLE, FL 32260-0847
            of the debtor’s interest       12/01/2016


            State the term remaining
            List the contract number of
            any government contract

                                           US CUSTOMS AND BORDER
                                                                              ATLANTIC SPECIALTY INSURANCE COMPANY
            State what the contract or
                                           PROTECTION CUSTOM BOND NUMBER      150 ROYALL STREET
            lease is for and the nature
2.11                                       9914CT645 - SURETY REFERENCE       CANTON, MA 02021
            of the debtor’s interest       NUMBER 141003019/800004364


            State the term remaining
            List the contract number of
            any government contract

                                           SERVICE AGREEMENT - AVERY - SNAP
                                                                              AVERY DENNISON
            State what the contract or
                                           700 WITH STACKER SERVICE           PO BOX 608
            lease is for and the nature
2.12                                       AGREEMENT - PLG - 2018 - DATED -   DAYTON, OH 45401
            of the debtor’s interest       12/01/2017


            State the term remaining
            List the contract number of
            any government contract




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List all contracts and unexpired leases                                      State the name and mailing address for all other parties with whom
                                                                             the debtor has an executory contract or unexpired lease

                                                                             BANK OF AMERICA
            State what the contract or     MASTER SERVICE AGREEMENT -
                                                                             COMMERCIAL CARD
            lease is for and the nature    MASTER CORPORATE CARD
2.13                                                                         FLOOR 11
            of the debtor’s interest       SERVICE AGREEMENT (JONES) -
                                                                             3 COMMERCIAL PLACE
                                           DATED - 04/11/2014
                                                                             NORFOLK, VA 23510
            State the term remaining
            List the contract number of
            any government contract
                                                                             BANK OF AMERICA
            State what the contract or     MASTER SERVICE AGREEMENT -
                                                                             ATTN: EXECUTIVE VICE PRESIDENT OF OPERATIONS
            lease is for and the nature    BANK OF AMERICA FIRST DATA
2.14                                                                         WHITMAN ROAD
            of the debtor’s interest       WELLS FARGO BANKCARD -
                                                                             MELVILLE, NY 11747
                                           DATED - 07/01/2015

            State the term remaining
            List the contract number of
            any government contract
                                                                             BHDM DESIGN LLC
            State what the contract or     ANNE KLEIN SPRING 2018 SHOP
                                                                             1201 BROADWAY
            lease is for and the nature    CONTRACT EXTENSION AS OF
2.15                                                                         SUITE 611
            of the debtor’s interest       1/5/2018
                                                                             NEW YORK, NY 10001


            State the term remaining
            List the contract number of
            any government contract
                                                                             CANON SOLUTIONS AMERICA, INC.
            State what the contract or     SERVICE AGREEMENT -
                                                                             ONE CANON PARK
            lease is for and the nature    FACILITIES MANAGEMENT
2.16                                                                         MELVILLE, NY 11747
            of the debtor’s interest       SERVICES & COPIER EQUIPMENT -
                                           DATED - 11/01/2015

            State the term remaining
            List the contract number of
            any government contract
                                                                             CHECK PLUS SYSTEMS
            State what the contract or     SERVICE AGREEMENT - CHECK
                                                                             ONE CUPSAW DRIVE
            lease is for and the nature    GUARANTEE SERVICES
2.17                                                                         RINGWOOD, FL 32819-9040
            of the debtor’s interest       AGREEMENT - DATED - 12/30/2015


            State the term remaining
            List the contract number of
            any government contract
                                                                             CHETRIT 1412 LLC
            State what the contract or     OFFICE LEASE - 1412 BROADWAY
                                                                             25 W. 36TH ST.
            lease is for and the nature    AND ALL AMENDMENTS DATED
2.18                                                                         NEW YORK, NY 10018
            of the debtor’s interest       7/27/2017


            State the term remaining
            List the contract number of
            any government contract
                                                                             CHUBB UNDERWRITING OFFICE
            State what the contract or     BUSINESS TRAVEL ACCIDENT
                                                                             202 HALL'S MILL ROAD
            lease is for and the nature    INSURANCE - POLICY NUMBER -
2.19                                                                         P.O. BOX 1600
            of the debtor’s interest       9907-86-36 - DATED - 01/01/2018
                                                                             WHITEHOUSE STATION, NJ 08889-1600


            State the term remaining
            List the contract number of
            any government contract




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List all contracts and unexpired leases                                      State the name and mailing address for all other parties with whom
                                                                             the debtor has an executory contract or unexpired lease

                                                                             CHUBB
            State what the contract or     INSURANCE POLICY RENEWAL -
                                                                             202 HALL'S MILL ROAD
            lease is for and the nature    INSURANCE POLICY RENEWAL
2.20                                                                         PO BOX 1600
            of the debtor’s interest       DATED 1/1/2018 - DATED -
                                                                             WHITEHOUSE STATION, NJ 08889-1600
                                           01/01/2018

            State the term remaining
            List the contract number of
            any government contract
                                                                             COMMERCE TECHNOLOGIES, LLC
            State what the contract or     SUPPLIER MASTER SERVICES
                                                                             ATTN: COMMERCEHUB LEGAL
            lease is for and the nature    AGREEMENT DATED AS OF
2.21                                                                         ZEN BUILDING
            of the debtor’s interest       10/19/2016
                                                                             201 FULLER ROAD, SUITE 601
                                                                             ALBANY, NY 12203
            State the term remaining
            List the contract number of
            any government contract

                                           SERVICE AGREEMENT, DATED AS OF
                                                                             DBA MEDIA LLC
            State what the contract or
                                           SEPTEMBER 18, 2012 (AS MAY HAVE   27 WEST 24TH STREET, 10B
            lease is for and the nature
2.22                                       BEEN FURTHER AMENDED, MODIFIED,   NEW YORK, NY 10010
            of the debtor’s interest       OR SUPPLEMENTED), BETWEEN NWHI
                                           AND DBA MEDIA LLC.

            State the term remaining
            List the contract number of
            any government contract
                                                                             DEBAUN DEVELOPMENT INC
            State what the contract or     CONSULTING AGREEMENT -
                                                                             116 WEST 22ND STREET, #2
            lease is for and the nature    DEBAUN DEVELOPMENT INC -
2.23                                                                         NEW YORK, NY 10011
            of the debtor’s interest       DATED - 05/02/2016


            State the term remaining
            List the contract number of
            any government contract
                                                                             DEBRA ANNETTE LANE
            State what the contract or     SEVERANCE AGREEMENT -
                                                                             ADDRESS ON FILE
            lease is for and the nature    RELEASE AND COVENANT NOT TO
2.24
            of the debtor’s interest       SUE - DATED - 02/01/2018


            State the term remaining
            List the contract number of
            any government contract
                                                                             DEMETRIO ROSARIO
            State what the contract or     SEVERANCE AGREEMENT -
                                                                             ADDRESS ON FILE
            lease is for and the nature    RELEASE AND COVENANT NOT TO
2.25
            of the debtor’s interest       SUE - DATED - 02/08/2018


            State the term remaining
            List the contract number of
            any government contract
                                                                             DIANA LAU
            State what the contract or     SEVERANCE AGREEMENT -
                                                                             ADDRESS ON FILE
            lease is for and the nature    RELEASE AND COVENANT NOT TO
2.26
            of the debtor’s interest       SUE - DATED - 02/01/2018


            State the term remaining
            List the contract number of
            any government contract




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List all contracts and unexpired leases                                       State the name and mailing address for all other parties with whom
                                                                              the debtor has an executory contract or unexpired lease

                                                                              DONNELLY MECHANICAL CORP
            State what the contract or     SERVICE AGREEMENT -
                                                                              222ND STREET
            lease is for and the nature    DONNELLY MECHANICAL- NY
2.27                                                                          QUEENS VILLAGE, NY 11429
            of the debtor’s interest       BLDGS EXCLUDING 1441 - DATED -
                                           11/15/2013

            State the term remaining
            List the contract number of
            any government contract
                                                                              EASTERN VISION SERVICE PLAN, INC.
            State what the contract or     GROUP VISION CARE PLAN
                                                                              3333 QUALITY DRIVE
            lease is for and the nature    1/1/2018
2.28                                                                          RANCHO CORDOVA, CA 95670
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                                                              FARMINGTON ADMINISTRATIVE SERVICES, INC.
            State what the contract or     EMPLOYER ADMINISTRATIVE
                                                                              30 WATERSIDE DRIVE
            lease is for and the nature    SERVICES AGREEMENT DATED AS
2.29                                                                          P.O. BOX 1112
            of the debtor’s interest       OF 9/2/2015
                                                                              FARMINGTON, CT 06034-1112


            State the term remaining
            List the contract number of
            any government contract

                                           SERVICE AGREEMENT - FARMINGTON
                                                                              FARMINGTON ADMINISTRATIVE SVCS INC.
            State what the contract or
                                           ADMINISTRATIVE SERVICES -          30 WATERSIDE DRIVE
            lease is for and the nature
2.30                                       EMPLOYER ADMINISTRATIVE SERVICES   PO BOX 1112
            of the debtor’s interest       AGREEMENT - DATED - 02/07/2011     FARMINGTON, CT 06034-1112


            State the term remaining
            List the contract number of
            any government contract
                                                                              FM GLOBAL INSURANCE COMPANY
            State what the contract or     PROPERTY/BUSINESS INCOME
                                                                              270 CENTRAL AVENUE
            lease is for and the nature    INSURANCE - POLICY NUMBER -
2.31                                                                          JOHNSTON, RI 02919
            of the debtor’s interest       1024282 - DATED - 04/08/2017


            State the term remaining
            List the contract number of
            any government contract
                                                                              FM GLOBAL INSURANCE COMPANY
            State what the contract or     PROPERTY/BUSINESS INCOME -
                                                                              270 CENTRAL AVENUE
            lease is for and the nature    POLICY NUMBER - 1036641 -
2.32                                                                          JOHNSTON, RI 02919
            of the debtor’s interest       DATED - 04/08/2018


            State the term remaining
            List the contract number of
            any government contract
                                                                              GERBER TECHNOLOGY INC
            State what the contract or     SERVICE AGREEMENT - GERBER
                                                                              24 INDUSTRIAL PARK ROAD WEST
            lease is for and the nature    SERVICE AGREEMENT - 1412
2.33                                                                          TOLLAND, CT 06084
            of the debtor’s interest       BROADWAY - DATED - 04/01/2015


            State the term remaining
            List the contract number of
            any government contract




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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                GERBER TECHNOLOGY LLC
            State what the contract or     SERVICE AGREEMENT DATED AS
                                                                                ATTN: GERBER SERVICE
            lease is for and the nature    OF 4/1/2018
2.34                                                                            24 INDUSTRIAL PARK ROAD WEST
            of the debtor’s interest
                                                                                TOLLAND, CT 06084


            State the term remaining
            List the contract number of
            any government contract
                                                                                GRAJ & GUSTAVSEN
            State what the contract or     CONSULTING AGREEMENT - GRAJ
                                                                                21 EAST 4TH STREET
            lease is for and the nature    & GUSTAVSEN INC - DATED -
2.35                                                                            4TH FLOOR
            of the debtor’s interest       06/03/2013
                                                                                NEW YORK, NY 10003


            State the term remaining
            List the contract number of
            any government contract
                                                                                GREGG MARKS
            State what the contract or     EMPLOYMENT AGREEMENT -
                                                                                ADDRESS ON FILE
            lease is for and the nature    DATED - 05/11/2016
2.36
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                                                                HEALTH ADVOCATE, INC.
            State what the contract or     PLAN SPONSOR AGREEMENT AND
                                                                                ATTN: WENDI THOMAS, SVP, ACCOUNT MANAGEMENT
            lease is for and the nature    ADDENDUM DATED AS OF 7/1/2015
2.37                                                                            3043 WALTON ROAD
            of the debtor’s interest
                                                                                PLYMOUTH MEETING, PA 19462


            State the term remaining
            List the contract number of
            any government contract

                                           CONSULTING SERVICES AGREEMENT,
                                                                                HL GROUP PARTNERS LLC
            State what the contract or
                                           DATED AS OF 7/10/17, AS AMENDED BY   853 BROADWAY, 18TH FLOOR
            lease is for and the nature
2.38                                       THOSE CERTAIN LETTERS OF             NEW YORK, NY 10003
            of the debtor’s interest       AGREEMENT, DATED AS OF 12/6/17 AND
                                           3/20/18.

            State the term remaining
            List the contract number of
            any government contract
                                                                                IDESCO CORP
            State what the contract or     SERVICE AGREEMENT - BRIVO
                                                                                37 W 26TH STREET
            lease is for and the nature    WEB HOSTING/MANAGEMENT (JH)
2.39                                                                            NEW YORK, NY 10010-1097
            of the debtor’s interest       - DATED - 11/01/2014


            State the term remaining
            List the contract number of
            any government contract
                                                                                INSUNG TRADING CO LTD
            State what the contract or     BUYER AGENCY AGREEMENT -
                                                                                HONG JAE BLDG, 58
            lease is for and the nature    INSUNG TRADING CO LTD - DATED
2.40                                                                            NONHYUN-DONG
            of the debtor’s interest       - 07/05/2012
                                                                                KANGNAM-KU
                                                                                SEOUL
                                                                                KOREA, REPUBLIC OF
            State the term remaining
            List the contract number of
            any government contract




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List all contracts and unexpired leases                                       State the name and mailing address for all other parties with whom
                                                                              the debtor has an executory contract or unexpired lease

                                                                              INTEGRATED LOGISTICS LLC
            State what the contract or     MASTER SERVICE AGREEMENT -
                                                                              ATTN: DAN WOTRING, PRINCIPAL
            lease is for and the nature    PARCEL AUDIT SERVICES
2.41                                                                          PO BOX 2051
            of the debtor’s interest       CONTRACT - DATED - 11/30/2006
                                                                              ALPHARETTA, GA 30023


            State the term remaining
            List the contract number of
            any government contract
                                                                              INTEGRATION POINT, INC
            State what the contract or     INTEGRATION POINT MASTER
                                                                              ATTN: CLIENT RELATIONS
            lease is for and the nature    SUBSCRIPTION AGREEMENT AS
2.42                                                                          P.O.BOX 49175
            of the debtor’s interest       OF 5/26/2016
                                                                              CHARLOTTE, NC 28277


            State the term remaining
            List the contract number of
            any government contract
                                                                              JAY JAEYUN KIM
            State what the contract or     SEVERANCE AGREEMENT -
                                                                              ADDRESS ON FILE
            lease is for and the nature    RELEASE AND COVENANT NOT TO
2.43
            of the debtor’s interest       SUE - DATED - 12/04/2017


            State the term remaining
            List the contract number of
            any government contract
                                                                              JH APPAREL (US) LLC
            State what the contract or     INTERCOMPANY AGREEMENT -
                                                                              1411 BROADWAY
            lease is for and the nature    ASSIGNMENT AND ASSUMPTION
2.44                                                                          NEW YORK, NY 10018
            of the debtor’s interest       OF LICENSE AGREEMENTS -
                                           DATED - 01/01/2015

            State the term remaining
            List the contract number of
            any government contract
                                                                              JH APPAREL (US) LLC
            State what the contract or     INTERCOMPANY AGREEMENT -
                                                                              1411 BROADWAY
            lease is for and the nature    AMENDED & RESTATED SERVICES
2.45                                                                          NEW YORK, NY 10018
            of the debtor’s interest       AGREEMENT - DATED - 01/25/2016


            State the term remaining
            List the contract number of
            any government contract
                                                                              JM MESA SERVICES
            State what the contract or     SERVICE AGREEMENT - JM MESA -
                                                                              87-23 62ND ROAD
            lease is for and the nature    OFFICE CLEANING - 1412 - DATED -
2.46                                                                          REGO PARK, NY 11374
            of the debtor’s interest       10/03/2014


            State the term remaining
            List the contract number of
            any government contract
                                                                              JM MESA SERVICES
            State what the contract or     COMPREHENSIVE JANITORIAL
                                                                              ATTN: JAIRO MESA, PRESIDENT
            lease is for and the nature    SERVICES DATED AS OF 4/18/2016
2.47                                                                          87-23 62ND ROAD
            of the debtor’s interest
                                                                              REGO PARK
                                                                              NEW YORK, NY 11374
            State the term remaining
            List the contract number of
            any government contract




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List all contracts and unexpired leases                                     State the name and mailing address for all other parties with whom
                                                                            the debtor has an executory contract or unexpired lease

                                                                            KASPER GLOBAL LIMITED
            State what the contract or     INTERCOMPANY AGREEMENT -
                                                                            12/F, TOWER I, METROPLAZA
            lease is for and the nature    AMENDED & RESTATED SERVICES
2.48                                                                        223 HING FONG ROAD
            of the debtor’s interest       AGREEMENT - DATED - 01/25/2016
                                                                            UNIT NO.S 1701-1708 & 1723-1725
                                                                            KWAI FUNG, NEW TERRITORIES
                                                                            HONG KONG
            State the term remaining
            List the contract number of
            any government contract
                                                                            KELLY CHAIDO
            State what the contract or     CONSULTING AGREEMENT -
                                                                            745 SOUTH 16TH STREET
            lease is for and the nature    KELLY CHIADO - DATED -
2.49                                                                        3RD FLOOR
            of the debtor’s interest       10/15/2015
                                                                            PHILADELPHIA, PA 19146


            State the term remaining
            List the contract number of
            any government contract
                                                                            LAIDA ROS
            State what the contract or     SEVERANCE AGREEMENT -
                                                                            ADDRESS ON FILE
            lease is for and the nature    RELEASE AND COVENANT NOT TO
2.50
            of the debtor’s interest       SUE - DATED - 02/08/2018


            State the term remaining
            List the contract number of
            any government contract
                                                                            LAIRD + PARTNERS
            State what the contract or     SERVICE AGREEMENT - LAIRD
                                                                            475 TENTH AVENUE
            lease is for and the nature    AND PARTNERS - DATED -
2.51                                                                        7TH FLOOR
            of the debtor’s interest       07/15/2015
                                                                            NEW YORK, NY 10018


            State the term remaining
            List the contract number of
            any government contract
                                                                            LECTRA USA INC
            State what the contract or     LECTRA CONTRACT LIST DATED
                                                                            5000 HIGHLANDS PKWY SE, SUITE 250
            lease is for and the nature    AS OF 2/1/2018
2.52                                                                        SMYRNA, GA 30082
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                                                            LIQUID COLOR GROUP INC.
            State what the contract or     SERVICE AGREEMENT - LIQUID
                                                                            ATTN: JACK MANNO
            lease is for and the nature    COLOR GROUP - DATED -
2.53                                                                        107 N 1ST STREET, SUITE 3C
            of the debtor’s interest       04/14/2008
                                                                            BROOKLYN, NY 11211


            State the term remaining
            List the contract number of
            any government contract
                                                                            LM INFORMATION DELIVERY
            State what the contract or     SERVICE AGREEMENT - LIBNET
                                                                            1 SOUTH THIRD ST
            lease is for and the nature    (WOLPER) - VARIOUS
2.54                                                                        9TH FLOOR
            of the debtor’s interest       SUBSCRIPTIONS - DATED -
                                                                            EASTON, PA 18042
                                           01/01/2017

            State the term remaining
            List the contract number of
            any government contract




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List all contracts and unexpired leases                                     State the name and mailing address for all other parties with whom
                                                                            the debtor has an executory contract or unexpired lease

                                                                            LOCAL 10, NEW YORK METROPOLITAN AREA JOINT BOARD, WORKERS
            State what the contract or     COLLECTIVE BARGAINING
                                                                            UNITED
            lease is for and the nature    AGREEMENT - DATED - 06/01/2016
2.55                                                                        ATTENTION: RICHARD GUIDO, ASSOCIATE MANAGER
            of the debtor’s interest
                                                                            33 WEST 14TH STREET
                                                                            NEW YORK, NY 10011
            State the term remaining
            List the contract number of
            any government contract
                                                                            LOCAL 89-22-1, NEW YORK METROPOLITAN AREA JOINT BOARD, WORKERS
            State what the contract or     COLLECTIVE BARGAINING
                                                                            UNITED
            lease is for and the nature    AGREEMENT - DATED - 06/01/2016
2.56                                                                        ATTENTION: RICHARD GUIDO, ASSOCIATE MANAGER
            of the debtor’s interest
                                                                            33 WEST 14TH STREET
                                                                            NEW YORK, NY 10011
            State the term remaining
            List the contract number of
            any government contract
                                                                            NACK SOOK LEE
            State what the contract or     SEVERANCE AGREEMENT -
                                                                            ADDRESS ON FILE
            lease is for and the nature    RELEASE AND COVENANT NOT TO
2.57
            of the debtor’s interest       SUE - DATED - 02/08/2018


            State the term remaining
            List the contract number of
            any government contract
                                                                            NATIONAL UNION FIRE INSURANCE
            State what the contract or     INSURANCE AGREEMENT -
                                                                            175 WATER STREET
            lease is for and the nature    NATIONAL UNION FIRE
2.58                                                                        NEW YORK, NY 10038
            of the debtor’s interest       INSURANCE COMPANY - DATED -
                                           01/27/2017

            State the term remaining
            List the contract number of
            any government contract
                                                                            NATIONAL UNION FIRE INSURANCE
            State what the contract or     INSURANCE AGREEMENT -
                                                                            175 WATER STREET
            lease is for and the nature    NATIONAL UNION FIRE
2.59                                                                        NEW YORK, NY 10038
            of the debtor’s interest       INSURANCE COMPANY (CRIME) -
                                           DATED - 01/27/2017

            State the term remaining
            List the contract number of
            any government contract
                                                                            NEDGRAPHICS
            State what the contract or     SOFTWARE MAINTENANCE
                                                                            20 WEST 37TH STREET
            lease is for and the nature    AGREEMENT DATED AS OF
2.60                                                                        NEW YORK, NY 10018
            of the debtor’s interest       1/1/2018 AND ALL ADDENDUM


            State the term remaining
            List the contract number of
            any government contract
                                                                            NINE WEST DEVELOPMENT LLC
            State what the contract or     INTERCOMPANY AGREEMENT -
                                                                            1411 BROADWAY
            lease is for and the nature    ASSIGNMENT AND ASSUMPTION
2.61                                                                        NEW YORK, NY 10018
            of the debtor’s interest       OF LICENSE AGREEMENTS -
                                           DATED - 01/01/2015

            State the term remaining
            List the contract number of
            any government contract




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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 NINE WEST MANAGEMENT SERVICE LLC
            State what the contract or     INTERCOMPANY AGREEMENT -
                                                                                 180 RITTENHOUSE CIRCLE
            lease is for and the nature    INTERCOMPANY SERVICES
2.62                                                                             BRISTOL, PA 19007
            of the debtor’s interest       AGREEMENT - DATED - 01/28/2017


            State the term remaining
            List the contract number of
            any government contract
                                                                                 PAYCHEX (KASPER PAYROLL)
            State what the contract or     SERVICE AGREEMENT -
                                                                                 2385 NORTHDISE DRIVE
            lease is for and the nature    PAYCHEX--KAPSER PAYROLL
2.63                                                                             SUITE 100
            of the debtor’s interest       PROVIDER - DATED - 07/26/2016
                                                                                 SAN DIEGO, CA 92108


            State the term remaining
            List the contract number of
            any government contract

                                           SERVICE AGREEMENT - PITNEY BOWES
                                                                                 PITNEY BOWES GLOBAL FINANCIAL SERV
            State what the contract or
                                           GLOBAL FINANCAL SERVICES-MAILING      PO BOX 371887
            lease is for and the nature
2.64                                       RENTAL SUBSCRIPTION- 1412             PITTSBURGH, PA 15250-7887
            of the debtor’s interest       BROADWAY - DATED - 01/09/2013


            State the term remaining
            List the contract number of
            any government contract
                                                                                 RADIAL, INC.
            State what the contract or     MERCHANDISE VENDOR
                                                                                 100 EAST LINTON BLVD, SUITE 307B
            lease is for and the nature    AGREEMENT DATED AS OF
2.65                                                                             DELRAY BEACH, FL 33483
            of the debtor’s interest       8/11/2017


            State the term remaining
            List the contract number of
            any government contract
                                                                                 RE BUSINESS SOLUTIONS
            State what the contract or     MASTER SERVICE AGREEMENT -
                                                                                 1980 OLD CUTHBERT RD
            lease is for and the nature    RIBBONS EXPRESS SUPPLIES
2.66                                                                             CHERRY HILL, NJ 08034
            of the debtor’s interest       LEVEL PAY PROGRAM - DATED -
                                           10/01/2013

            State the term remaining
            List the contract number of
            any government contract

                                           MASTER SERVICE AGREEMENT -
                                                                                 REPORTLINE ANONYMOUS HOTLINE NETWORK
            State what the contract or
                                           REPORTLINE ANONYMOUS HOTELINE         ATTN: MR. JIM GALEY
            lease is for and the nature
2.67                                       NETWORK (THE NETWORK INC) - DATED     333 RESEARCH COURT
            of the debtor’s interest       - 02/01/2006                          NORCROSS, GA 30092


            State the term remaining
            List the contract number of
            any government contract

                                           GENERAL HVAC AGREEMENT,
                                                                                 ROTH BROS INC
            State what the contract or
                                           EFFECTIVE AS OF JANUARY 1, 2012 (AS   3847 CRUM ROAD
            lease is for and the nature
2.68                                       MAY HAVE BEEN FURTHER AMENDED,        YOUNGSTOWN, OH 44515
            of the debtor’s interest       MODIFIED, OR SUPPLEMENTED).


            State the term remaining
            List the contract number of
            any government contract




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Debtor         KASPER GROUP LLC                                                                Case number (if known) 18-10949
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                           ARMORED CAR SERVICE CONTRACT,
                                                                               SAFE & SOUND ARMED COURIER INC.
            State what the contract or
                                           DATED AS OF MARCH 1, 2010 (AS MAY   PO BOX 1463
            lease is for and the nature
2.69                                       HAVE BEEN FURTHER AMENDED,          BAYVILLE, NY 11709
            of the debtor’s interest       MODIFIED, OR SUPPLEMENTED).


            State the term remaining
            List the contract number of
            any government contract
                                                                               STAPLES BUSINESS ADVANTAGE
            State what the contract or     SERVICE AGREEMENT - STAPLES -
                                                                               500 STAPLES DRIVE
            lease is for and the nature    MASTER PURCHASING
2.70                                                                           FRAMINGHAM, MA 01702
            of the debtor’s interest       AGREEMENT 2015 - ALL - DATED -
                                           01/01/2016

            State the term remaining
            List the contract number of
            any government contract
                                                                               STAPLES BUSINESS ADVANTAGE
            State what the contract or     MASTER SERVICE AGREEMENT -
                                                                               ATTN: GENERAL COUCIL
            lease is for and the nature    STAPLES - KEURIG BREWER
2.71                                                                           500 STAPLES DRIVE
            of the debtor’s interest       LEASE AGREEMENT - NY - DATED -
                                                                               FRAMINGHAM, MA 01702
                                           01/01/2014

            State the term remaining
            List the contract number of
            any government contract
                                                                               STAPLES BUSINESS ADVANTAGE
            State what the contract or     STANDARD CONTRACT FORM -
                                                                               500 STAPLES DRIVE
            lease is for and the nature    DISCOUNT CARD FOR RETAIL
2.72                                                                           FRAMINGHAM, MA 01702
            of the debtor’s interest       STORES - DATED - 01/01/2011


            State the term remaining
            List the contract number of
            any government contract
                                                                               SUSAN BALZANO
            State what the contract or     SEVERANCE AGREEMENT -
                                                                               ADDRESS ON FILE
            lease is for and the nature    RELEASE AND COVENANT NOT TO
2.73
            of the debtor’s interest       SUE - DATED - 02/08/2018


            State the term remaining
            List the contract number of
            any government contract
                                                                               TAK H LAM
            State what the contract or     SEVERANCE AGREEMENT -
                                                                               ADDRESS ON FILE
            lease is for and the nature    RELEASE AND COVENANT NOT TO
2.74
            of the debtor’s interest       SUE - DATED - 02/08/2018


            State the term remaining
            List the contract number of
            any government contract
                                                                               TATYANA POLTORAK
            State what the contract or     SEVERANCE AGREEMENT -
                                                                               ADDRESS ON FILE
            lease is for and the nature    RELEASE AND COVENANT NOT TO
2.75
            of the debtor’s interest       SUE - DATED - 02/08/2018


            State the term remaining
            List the contract number of
            any government contract




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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                           GENERAL HVAC AGREEMENT,
                                                                                 THE CHEROKEE GROUP LLC
            State what the contract or
                                           EFFECTIVE AS OF JANUARY 1, 2012 (AS   1866 COUNTRY MEADOW DRIVE
            lease is for and the nature
2.76                                       MAY HAVE BEEN FURTHER AMENDED,        SEVIERVILLE, TN 37864
            of the debtor’s interest       MODIFIED, OR SUPPLEMENTED).


            State the term remaining
            List the contract number of
            any government contract
                                                                                 TIBCO SOFTWARE INC
            State what the contract or     IT CONTRACT - TIBCO - LOYALTY
                                                                                 3303 HILLVIEW AVENUE
            lease is for and the nature    LABS - DATED - 03/28/2017
2.77                                                                             PALO ALTO, CA 94304
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                                                                 TOLL GLOBAL FORWARDING
            State what the contract or     SERVICE AGREEMENT - TOLL
                                                                                 14/F
            lease is for and the nature    GLOBAL FORWARDING--NVOCC
2.78                                                                             TOWER 1
            of the debtor’s interest       SERVICE AGREEMENT - DATED -
                                                                                 EVER GAIN PLAZA
                                           05/10/2017
                                                                                 88 CONTAINER PORT ROAD, NEW TERRATORIES
                                                                                 KWAI CHUNG
            State the term remaining                                             HONG KONG
            List the contract number of
            any government contract
                                                                                 VIKTORIA O GRABBE
            State what the contract or     SEVERANCE AGREEMENT -
                                                                                 ADDRESS ON FILE
            lease is for and the nature    RELEASE AND COVENANT NOT TO
2.79
            of the debtor’s interest       SUE - DATED - 02/08/2018


            State the term remaining
            List the contract number of
            any government contract
                                                                                 VISUAL RETAILING LLC
            State what the contract or     IT CONTRACT - VISUAL RETAILING
                                                                                 ATTN: RORY HANE-HARVEY, MANAGER
            lease is for and the nature    AGREEMENT - DATED - 07/01/2011
2.80                                                                             731 LUNNS WAY
            of the debtor’s interest
                                                                                 PLYMOUTH, MA 02360


            State the term remaining
            List the contract number of
            any government contract
                                                                                 WAGEWORKS, INC
            State what the contract or     FUNDING AGREEMENT DATED AS
                                                                                 1100 PARK PLACE
            lease is for and the nature    OF 10/1/2015
2.81                                                                             4TH FLOOR
            of the debtor’s interest
                                                                                 SAN MATEO, CA 94403


            State the term remaining
            List the contract number of
            any government contract
                                                                                 WESTCHESTER (A CHUBB CO)
            State what the contract or     INSURANCE POLICIES -
                                                                                 436 WALNUT STREET
            lease is for and the nature    WESTCHESTER FIRE INS CO
2.82                                                                             PO BOX 1000
            of the debtor’s interest       (CHUBB) - DATED - 01/27/2017
                                                                                 PHILADELPHIA, PA 19106-3703


            State the term remaining
            List the contract number of
            any government contract




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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           WESTCHESTER (A CHUBB CO)
            State what the contract or     INSURANCE AGREEMENT -
                                                                           436 WALNUT STREET
            lease is for and the nature    WESTCHESTER FIRE INS CO
2.83                                                                       PO BOX 1000
            of the debtor’s interest       (CHUBB) - DATED - 01/27/2017
                                                                           PHILADELPHIA, PA 19106-3703


            State the term remaining
            List the contract number of
            any government contract
                                                                           WESTMINSTER CONSULTING, LLC
            State what the contract or     ONGOING FIDUCIARY OVERSIGHT
                                                                           ATTN: THOMAS F. ZAMIARA, PARTNER
            lease is for and the nature    AGREEMENT DATED AS OF
2.84                                                                       11 CENTRE PARK, SUITE 303
            of the debtor’s interest       3/21/2016
                                                                           ROCHESTER, NY 14614-1115


            State the term remaining
            List the contract number of
            any government contract
                                                                           WESTROCK CP LLC
            State what the contract or     SERVICE AGREEMENT -
                                                                           ATTN: EVP
            lease is for and the nature    ROCKTENN SUPPLY AGREEMENT
2.85                                                                       504 THRASHER STREET
            of the debtor’s interest       FOR NINE WEST - DATED -
                                                                           NORCROSS, GA 30071
                                           04/01/2017

            State the term remaining
            List the contract number of
            any government contract
                                                                           WGSN INC
            State what the contract or     SERVICE AGREEMENT - WGSN
                                                                           25 WEST 39TH STREET
            lease is for and the nature    DESIGN WEBSITE ACCESS 2017-
2.86                                                                       14TH FLOOR
            of the debtor’s interest       2018 - DATED - 03/27/2017
                                                                           NEW YORK, NY 10018


            State the term remaining
            List the contract number of
            any government contract
                                                                           WILLIS OF NY-ONE WORLD FIN CTR
            State what the contract or     INSURANCE AGREEMENT - AIG
                                                                           175 WATER STREET
            lease is for and the nature    SPECIALTY INS COMPANY
2.87                                                                       18TH FLOOR
            of the debtor’s interest       RUNOFF ENDORSEMENT - DATED -
                                                                           NEW YORK, NY 10038
                                           01/27/2017

            State the term remaining
            List the contract number of
            any government contract
                                                                           WILLIS TOWERS WATSON
            State what the contract or     INSURANCE AGREEMENT -
                                                                           ATTN: MUAREEN MCCARTHY
            lease is for and the nature    FOREIGN CASULTY COVERAGE--
2.88                                                                       200 LIBERTY STREET
            of the debtor’s interest       WILLIS TOWERS WATSON - DATED
                                                                           FLOOR 6
                                           - 04/08/2017
                                                                           NEW YORK, NY 10281-0001
            State the term remaining
            List the contract number of
            any government contract
                                                                           WILLIS TOWERS WATSON
            State what the contract or     HEALTH AND WELFARE PLAN
                                                                           ATTN: KAREN MORRIS
            lease is for and the nature    DATED AS OF 1/29/2018
2.89                                                                       800 BOYLSTON STREET, SUITE 600
            of the debtor’s interest
                                                                           BOSTON, MA 02199


            State the term remaining
            List the contract number of
            any government contract




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List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           WISHBONE CO LTD
            State what the contract or     BUYER AGENCY AGREEMENT -
                                                                           WISHBONE HOUSE
            lease is for and the nature    WISHBONE CO LTD - DATED -
2.90                                                                       #8-32 YANGJAEDONG, SEOCHO-KU
            of the debtor’s interest       07/03/2012
                                                                           SEOUL
                                                                           KOREA, REPUBLIC OF
            State the term remaining
            List the contract number of
            any government contract
                                                                           WWD-FN
            State what the contract or     SERVICE AGREEMENT - WWD / FN
                                                                           ATTN: JULIE DRESEN
            lease is for and the nature    SUBSCRIPTIONS - DATED -
2.91                                                                       PO BOX 6356
            of the debtor’s interest       07/01/2017
                                                                           HARLAN, IA 51593-1856


            State the term remaining
            List the contract number of
            any government contract




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       KASPER GROUP LLC

                             Southern                       New York

                  18-10949




X




NINE WEST                1411 BROADWAY     NEW YORK, NY 10018          ADP LLC
DEVELOPMENT LLC

                                                                                                X




NINE WEST DISTRIBUTION 180 RITTENHOUSE CIRCLE      BRISTOL, PA 19007   ADP LLC
LLC

                                                                                                X




NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE   BRISTOL, PA 19007    ADP LLC
INC.

                                                                                                X



NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE       BRISTOL, PA 19007    ADP LLC
SERVICE LLC
                                                                                                X



ONE JEANSWEAR GROUP      1411 BROADWAY     NEW YORK, NY 10018          ADP LLC
INC.

                                                                                                X




NINE WEST                1411 BROADWAY     NEW YORK, NY 10018          BANK OF AMERICA
DEVELOPMENT LLC

                                                                                                X




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         Column 1: Codebtor                                                                   Column 2: Creditor


           Name                     Mailing address                                              Name                      Check all schedules
                                                                                                                           that apply:

2.7    NINE WEST DISTRIBUTION   180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 BANK OF AMERICA
       LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.8    NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 BANK OF AMERICA
       INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.9    NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE         BRISTOL, PA 19007                 BANK OF AMERICA
       SERVICE LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.10   ONE JEANSWEAR GROUP      1411 BROADWAY    NEW YORK, NY 10018                          BANK OF AMERICA
       INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.11   NINE WEST                1411 BROADWAY    NEW YORK, NY 10018                          CANON SOLUTIONS AMERICA,
       DEVELOPMENT LLC                                                                       INC.
                                                                                                                             D
                                                                                                                             E/F
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2.12   NINE WEST DISTRIBUTION   180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 CANON SOLUTIONS AMERICA,
       LLC                                                                                   INC.
                                                                                                                             D
                                                                                                                             E/F
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2.13   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 CANON SOLUTIONS AMERICA,
       INC.                                                                                  INC.
                                                                                                                             D
                                                                                                                             E/F
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2.14   NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE         BRISTOL, PA 19007                 CANON SOLUTIONS AMERICA,
       SERVICE LLC                                                                           INC.
                                                                                                                             D
                                                                                                                             E/F
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2.15   ONE JEANSWEAR GROUP      1411 BROADWAY    NEW YORK, NY 10018                          CANON SOLUTIONS AMERICA,
       INC.                                                                                  INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.16   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 CHECK PLUS SYSTEMS
       INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.17   JASPER PARENT LLC        1411 BROADWAY NEW YORK, NY 10018                             CORTLAND CAPITAL MARKET
                                                                                             SERVICES LLC
                                                                                                                            X D
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         Column 1: Codebtor                                                                   Column 2: Creditor


           Name                     Mailing address                                              Name                      Check all schedules
                                                                                                                           that apply:

2.18   KASPER U.S. BLOCKER      1412 BROADWAY NEW YORK, NY 10018                             CORTLAND CAPITAL MARKET
       LLC                                                                                   SERVICES LLC
                                                                                                                            X D
                                                                                                                              E/F
                                                                                                                              G

2.19   NINE WEST APPAREL        1411 BROADWAY    NEW YORK, NY 10018                          CORTLAND CAPITAL MARKET
       HOLDINGS LLC                                                                          SERVICES LLC
                                                                                                                            X D
                                                                                                                              E/F
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2.20   NINE WEST                1411 BROADWAY    NEW YORK, NY 10018                          CORTLAND CAPITAL MARKET
       DEVELOPMENT LLC                                                                       SERVICES LLC
                                                                                                                            X D
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2.21   NINE WEST DISTRIBUTION   180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 CORTLAND CAPITAL MARKET
       LLC                                                                                   SERVICES LLC
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2.22   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 CORTLAND CAPITAL MARKET
       INC.                                                                                  SERVICES LLC
                                                                                                                            X D
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2.23   NINE WEST JEANSWEAR      1411 BROADWAY    NEW YORK, NY 10018                          CORTLAND CAPITAL MARKET
       HOLDING LLC                                                                           SERVICES LLC
                                                                                                                            X D
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2.24   NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE         BRISTOL, PA 19007                 CORTLAND CAPITAL MARKET
       SERVICE LLC                                                                           SERVICES LLC
                                                                                                                            X D
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2.25   ONE JEANSWEAR GROUP      1411 BROADWAY    NEW YORK, NY 10018                          CORTLAND CAPITAL MARKET
       INC.                                                                                  SERVICES LLC
                                                                                                                            X D
                                                                                                                              E/F
                                                                                                                              G

2.26   US KIC TOP HAT LLC       1411 BROADWAY NEW YORK, NY 10018                             CORTLAND CAPITAL MARKET
                                                                                             SERVICES LLC
                                                                                                                            X D
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                                                                                                                              G

2.27   NINE WEST                1411 BROADWAY    NEW YORK, NY 10018                          DONNELLY MECHANICAL
       DEVELOPMENT LLC                                                                       CORP
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.28   NINE WEST DISTRIBUTION   180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 DONNELLY MECHANICAL
       LLC                                                                                   CORP
                                                                                                                             D
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         Column 1: Codebtor                                                                   Column 2: Creditor


           Name                     Mailing address                                              Name                      Check all schedules
                                                                                                                           that apply:

2.29   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 DONNELLY MECHANICAL
       INC.                                                                                  CORP
                                                                                                                             D
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2.30   NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE         BRISTOL, PA 19007                 DONNELLY MECHANICAL
       SERVICE LLC                                                                           CORP
                                                                                                                             D
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2.31   ONE JEANSWEAR GROUP      1411 BROADWAY    NEW YORK, NY 10018                          DONNELLY MECHANICAL
       INC.                                                                                  CORP
                                                                                                                             D
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2.32   NINE WEST                1411 BROADWAY    NEW YORK, NY 10018                          FARMINGTON
       DEVELOPMENT LLC                                                                       ADMINISTRATIVE SVCS INC.
                                                                                                                             D
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2.33   NINE WEST DISTRIBUTION   180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 FARMINGTON
       LLC                                                                                   ADMINISTRATIVE SVCS INC.
                                                                                                                             D
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2.34   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 FARMINGTON
       INC.                                                                                  ADMINISTRATIVE SVCS INC.
                                                                                                                             D
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2.35   NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE         BRISTOL, PA 19007                 FARMINGTON
       SERVICE LLC                                                                           ADMINISTRATIVE SVCS INC.
                                                                                                                             D
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2.36   ONE JEANSWEAR GROUP      1411 BROADWAY    NEW YORK, NY 10018                          FARMINGTON
       INC.                                                                                  ADMINISTRATIVE SVCS INC.
                                                                                                                             D
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2.37   JASPER PARENT LLC        1411 BROADWAY NEW YORK, NY 10018                             GLAS TRUST COMPANY LLC
                                                                                                                             D
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2.38   KASPER U.S. BLOCKER      1412 BROADWAY NEW YORK, NY 10018                             GLAS TRUST COMPANY LLC
       LLC
                                                                                                                             D
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2.39   NINE WEST APPAREL        1411 BROADWAY    NEW YORK, NY 10018                          GLAS TRUST COMPANY LLC
       HOLDINGS LLC
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         Column 1: Codebtor                                                                   Column 2: Creditor


           Name                     Mailing address                                              Name                      Check all schedules
                                                                                                                           that apply:

2.40   NINE WEST                1411 BROADWAY    NEW YORK, NY 10018                          GLAS TRUST COMPANY LLC
       DEVELOPMENT LLC
                                                                                                                             D
                                                                                                                           X E/F
                                                                                                                             G

2.41   NINE WEST DISTRIBUTION   180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 GLAS TRUST COMPANY LLC
       LLC
                                                                                                                             D
                                                                                                                           X E/F
                                                                                                                             G

2.42   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 GLAS TRUST COMPANY LLC
       INC.
                                                                                                                             D
                                                                                                                           X E/F
                                                                                                                             G

2.43   NINE WEST JEANSWEAR      1411 BROADWAY    NEW YORK, NY 10018                          GLAS TRUST COMPANY LLC
       HOLDING LLC
                                                                                                                             D
                                                                                                                           X E/F
                                                                                                                             G

2.44   NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE         BRISTOL, PA 19007                 GLAS TRUST COMPANY LLC
       SERVICE LLC
                                                                                                                             D
                                                                                                                           X E/F
                                                                                                                             G

2.45   ONE JEANSWEAR GROUP      1411 BROADWAY    NEW YORK, NY 10018                          GLAS TRUST COMPANY LLC
       INC.
                                                                                                                             D
                                                                                                                           X E/F
                                                                                                                             G

2.46   US KIC TOP HAT LLC       1411 BROADWAY NEW YORK, NY 10018                             GLAS TRUST COMPANY LLC
                                                                                                                             D
                                                                                                                           X E/F
                                                                                                                             G

2.47   NINE WEST                1411 BROADWAY    NEW YORK, NY 10018                          INTEGRATED LOGISTICS LLC
       DEVELOPMENT LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.48   NINE WEST DISTRIBUTION   180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 INTEGRATED LOGISTICS LLC
       LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.49   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 INTEGRATED LOGISTICS LLC
       INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.50   NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE         BRISTOL, PA 19007                 INTEGRATED LOGISTICS LLC
       SERVICE LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G


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                                                                                                                           that apply:

2.51   ONE JEANSWEAR GROUP      1411 BROADWAY    NEW YORK, NY 10018                          INTEGRATED LOGISTICS LLC
       INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.52   NINE WEST                1411 BROADWAY    NEW YORK, NY 10018                          JH APPAREL (US) LLC
       DEVELOPMENT LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.53   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 LAIRD + PARTNERS
       INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.54   NINE WEST                1411 BROADWAY    NEW YORK, NY 10018                          LM INFORMATION DELIVERY
       DEVELOPMENT LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.55   NINE WEST DISTRIBUTION   180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 LM INFORMATION DELIVERY
       LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.56   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 LM INFORMATION DELIVERY
       INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.57   NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE         BRISTOL, PA 19007                 LM INFORMATION DELIVERY
       SERVICE LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.58   ONE JEANSWEAR GROUP      1411 BROADWAY    NEW YORK, NY 10018                          LM INFORMATION DELIVERY
       INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.59   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 NINE WEST DEVELOPMENT
       INC.                                                                                  LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.60   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 NINE WEST MANAGEMENT
       INC.                                                                                  SERVICE LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.61   ONE JEANSWEAR GROUP      1411 BROADWAY    NEW YORK, NY 10018                          NINE WEST MANAGEMENT
       INC.                                                                                  SERVICE LLC
                                                                                                                             D
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                                                                                                                           that apply:

2.62   JASPER PARENT LLC        1411 BROADWAY NEW YORK, NY 10018                             PENSION BENEFIT GUARANTY
                                                                                             CORPORATION
                                                                                                                             D
                                                                                                                           X E/F
                                                                                                                             G

2.63   KASPER U.S. BLOCKER      1412 BROADWAY NEW YORK, NY 10018                             PENSION BENEFIT GUARANTY
       LLC                                                                                   CORPORATION
                                                                                                                             D
                                                                                                                           X E/F
                                                                                                                             G

2.64   NINE WEST APPAREL        1411 BROADWAY    NEW YORK, NY 10018                          PENSION BENEFIT GUARANTY
       HOLDINGS LLC                                                                          CORPORATION
                                                                                                                             D
                                                                                                                           X E/F
                                                                                                                             G

2.65   NINE WEST                1411 BROADWAY    NEW YORK, NY 10018                          PENSION BENEFIT GUARANTY
       DEVELOPMENT LLC                                                                       CORPORATION
                                                                                                                             D
                                                                                                                           X E/F
                                                                                                                             G

2.66   NINE WEST DISTRIBUTION   180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 PENSION BENEFIT GUARANTY
       LLC                                                                                   CORPORATION
                                                                                                                             D
                                                                                                                           X E/F
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2.67   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 PENSION BENEFIT GUARANTY
       INC.                                                                                  CORPORATION
                                                                                                                             D
                                                                                                                           X E/F
                                                                                                                             G

2.68   NINE WEST JEANSWEAR      1411 BROADWAY    NEW YORK, NY 10018                          PENSION BENEFIT GUARANTY
       HOLDING LLC                                                                           CORPORATION
                                                                                                                             D
                                                                                                                           X E/F
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2.69   NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE         BRISTOL, PA 19007                 PENSION BENEFIT GUARANTY
       SERVICE LLC                                                                           CORPORATION
                                                                                                                             D
                                                                                                                           X E/F
                                                                                                                             G

2.70   ONE JEANSWEAR GROUP      1411 BROADWAY    NEW YORK, NY 10018                          PENSION BENEFIT GUARANTY
       INC.                                                                                  CORPORATION
                                                                                                                             D
                                                                                                                           X E/F
                                                                                                                             G

2.71   US KIC TOP HAT LLC       1411 BROADWAY NEW YORK, NY 10018                             PENSION BENEFIT GUARANTY
                                                                                             CORPORATION
                                                                                                                             D
                                                                                                                           X E/F
                                                                                                                             G

2.72   NINE WEST                1411 BROADWAY    NEW YORK, NY 10018                          RE BUSINESS SOLUTIONS
       DEVELOPMENT LLC
                                                                                                                             D
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                                                                                                                           that apply:

2.73   NINE WEST DISTRIBUTION   180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 RE BUSINESS SOLUTIONS
       LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.74   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 RE BUSINESS SOLUTIONS
       INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.75   NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE         BRISTOL, PA 19007                 RE BUSINESS SOLUTIONS
       SERVICE LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.76   ONE JEANSWEAR GROUP      1411 BROADWAY    NEW YORK, NY 10018                          RE BUSINESS SOLUTIONS
       INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.77   NINE WEST                1411 BROADWAY    NEW YORK, NY 10018                          REPORTLINE ANONYMOUS
       DEVELOPMENT LLC                                                                       HOTLINE NETWORK
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.78   NINE WEST DISTRIBUTION   180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 REPORTLINE ANONYMOUS
       LLC                                                                                   HOTLINE NETWORK
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.79   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 REPORTLINE ANONYMOUS
       INC.                                                                                  HOTLINE NETWORK
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.80   NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE         BRISTOL, PA 19007                 REPORTLINE ANONYMOUS
       SERVICE LLC                                                                           HOTLINE NETWORK
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.81   ONE JEANSWEAR GROUP      1411 BROADWAY    NEW YORK, NY 10018                          REPORTLINE ANONYMOUS
       INC.                                                                                  HOTLINE NETWORK
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.82   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 ROTH BROS INC
       INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.83   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 SAFE & SOUND ARMED
       INC.                                                                                  COURIER INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G


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                                                                                                                           that apply:

2.84   NINE WEST                1411 BROADWAY    NEW YORK, NY 10018                          STAPLES BUSINESS
       DEVELOPMENT LLC                                                                       ADVANTAGE
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.85   NINE WEST DISTRIBUTION   180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 STAPLES BUSINESS
       LLC                                                                                   ADVANTAGE
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.86   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 STAPLES BUSINESS
       INC.                                                                                  ADVANTAGE
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.87   NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE         BRISTOL, PA 19007                 STAPLES BUSINESS
       SERVICE LLC                                                                           ADVANTAGE
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.88   ONE JEANSWEAR GROUP      1411 BROADWAY    NEW YORK, NY 10018                          STAPLES BUSINESS
       INC.                                                                                  ADVANTAGE
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.89   NINE WEST                1411 BROADWAY    NEW YORK, NY 10018                          STAPLES BUSINESS
       DEVELOPMENT LLC                                                                       ADVANTAGE
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.90   NINE WEST DISTRIBUTION   180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 STAPLES BUSINESS
       LLC                                                                                   ADVANTAGE
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.91   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 STAPLES BUSINESS
       INC.                                                                                  ADVANTAGE
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.92   NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE         BRISTOL, PA 19007                 STAPLES BUSINESS
       SERVICE LLC                                                                           ADVANTAGE
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.93   ONE JEANSWEAR GROUP      1411 BROADWAY    NEW YORK, NY 10018                          STAPLES BUSINESS
       INC.                                                                                  ADVANTAGE
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.94   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 STAPLES BUSINESS
       INC.                                                                                  ADVANTAGE
                                                                                                                             D
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                                                                                                                           that apply:

2.95   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 THE CHEROKEE GROUP LLC
       INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.96   NINE WEST                1411 BROADWAY    NEW YORK, NY 10018                          TIBCO SOFTWARE INC
       DEVELOPMENT LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.97   NINE WEST DISTRIBUTION   180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 TIBCO SOFTWARE INC
       LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.98   NINE WEST HOLDINGS,      180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 TIBCO SOFTWARE INC
       INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.99   NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE         BRISTOL, PA 19007                 TIBCO SOFTWARE INC
       SERVICE LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.100 ONE JEANSWEAR GROUP       1411 BROADWAY    NEW YORK, NY 10018                          TIBCO SOFTWARE INC
      INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.101 NINE WEST                 1411 BROADWAY    NEW YORK, NY 10018                          TOLL GLOBAL FORWARDING
      DEVELOPMENT LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.102 NINE WEST DISTRIBUTION    180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 TOLL GLOBAL FORWARDING
      LLC
                                                                                                                             D
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2.103 NINE WEST HOLDINGS,       180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 TOLL GLOBAL FORWARDING
      INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.104 NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE          BRISTOL, PA 19007                 TOLL GLOBAL FORWARDING
      SERVICE LLC
                                                                                                                             D
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2.105 ONE JEANSWEAR GROUP       1411 BROADWAY    NEW YORK, NY 10018                          TOLL GLOBAL FORWARDING
      INC.
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                                                                                                                           that apply:

2.106 JASPER PARENT LLC         1411 BROADWAY NEW YORK, NY 10018                             WELLS FARGO BANK,
                                                                                             NATIONAL ASSOCIATION, AS
                                                                                             ADMINISTRATIVE AGENT           X D
                                                                                                                              E/F
                                                                                                                              G

2.107 KASPER U.S. BLOCKER       1412 BROADWAY NEW YORK, NY 10018                             WELLS FARGO BANK,
      LLC                                                                                    NATIONAL ASSOCIATION, AS
                                                                                             ADMINISTRATIVE AGENT           X D
                                                                                                                              E/F
                                                                                                                              G

2.108 NINE WEST APPAREL         1411 BROADWAY    NEW YORK, NY 10018                          WELLS FARGO BANK,
      HOLDINGS LLC                                                                           NATIONAL ASSOCIATION, AS
                                                                                             ADMINISTRATIVE AGENT           X D
                                                                                                                              E/F
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2.109 NINE WEST                 1411 BROADWAY    NEW YORK, NY 10018                          WELLS FARGO BANK,
      DEVELOPMENT LLC                                                                        NATIONAL ASSOCIATION, AS
                                                                                             ADMINISTRATIVE AGENT           X D
                                                                                                                              E/F
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2.110 NINE WEST DISTRIBUTION    180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 WELLS FARGO BANK,
      LLC                                                                                    NATIONAL ASSOCIATION, AS
                                                                                             ADMINISTRATIVE AGENT           X D
                                                                                                                              E/F
                                                                                                                              G

2.111 NINE WEST HOLDINGS,       180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 WELLS FARGO BANK,
      INC.                                                                                   NATIONAL ASSOCIATION, AS
                                                                                             ADMINISTRATIVE AGENT           X D
                                                                                                                              E/F
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2.112 NINE WEST JEANSWEAR       1411 BROADWAY    NEW YORK, NY 10018                          WELLS FARGO BANK,
      HOLDING LLC                                                                            NATIONAL ASSOCIATION, AS
                                                                                             ADMINISTRATIVE AGENT           X D
                                                                                                                              E/F
                                                                                                                              G

2.113 NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE          BRISTOL, PA 19007                 WELLS FARGO BANK,
      SERVICE LLC                                                                            NATIONAL ASSOCIATION, AS
                                                                                             ADMINISTRATIVE AGENT           X D
                                                                                                                              E/F
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2.114 ONE JEANSWEAR GROUP       1411 BROADWAY    NEW YORK, NY 10018                          WELLS FARGO BANK,
      INC.                                                                                   NATIONAL ASSOCIATION, AS
                                                                                             ADMINISTRATIVE AGENT           X D
                                                                                                                              E/F
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2.115 US KIC TOP HAT LLC        1411 BROADWAY NEW YORK, NY 10018                             WELLS FARGO BANK,
                                                                                             NATIONAL ASSOCIATION, AS
                                                                                             ADMINISTRATIVE AGENT           X D
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2.116 NINE WEST DISTRIBUTION    180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 WESTROCK CP LLC
      LLC
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                                                                                                                           that apply:

2.117 ONE JEANSWEAR GROUP       1411 BROADWAY    NEW YORK, NY 10018                          WESTROCK CP LLC
      INC.
                                                                                                                             D
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2.118 NINE WEST                 1411 BROADWAY    NEW YORK, NY 10018                          WGSN INC
      DEVELOPMENT LLC
                                                                                                                             D
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2.119 NINE WEST DISTRIBUTION    180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 WGSN INC
      LLC
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2.120 NINE WEST HOLDINGS,       180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 WGSN INC
      INC.
                                                                                                                             D
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2.121 NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE          BRISTOL, PA 19007                 WGSN INC
      SERVICE LLC
                                                                                                                             D
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2.122 ONE JEANSWEAR GROUP       1411 BROADWAY    NEW YORK, NY 10018                          WGSN INC
      INC.
                                                                                                                             D
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2.123 NINE WEST                 1411 BROADWAY    NEW YORK, NY 10018                          WILLIS TOWERS WATSON
      DEVELOPMENT LLC
                                                                                                                             D
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                                                                                                                           X G

2.124 NINE WEST DISTRIBUTION    180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 WILLIS TOWERS WATSON
      LLC
                                                                                                                             D
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2.125 NINE WEST HOLDINGS,       180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 WILLIS TOWERS WATSON
      INC.
                                                                                                                             D
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2.126 NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE          BRISTOL, PA 19007                 WILLIS TOWERS WATSON
      SERVICE LLC
                                                                                                                             D
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2.127 ONE JEANSWEAR GROUP       1411 BROADWAY    NEW YORK, NY 10018                          WILLIS TOWERS WATSON
      INC.
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           Name                     Mailing address                                              Name                      Check all schedules
                                                                                                                           that apply:

2.128 NINE WEST MANAGEMENT 180 RITTENHOUSE CIRCLE          BRISTOL, PA 19007                 WWD-FN
      SERVICE LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.129 ONE JEANSWEAR GROUP       1411 BROADWAY    NEW YORK, NY 10018                          WWD-FN
      INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.130 NINE WEST                 1411 BROADWAY    NEW YORK, NY 10018                          WWD-FN
      DEVELOPMENT LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.131 NINE WEST DISTRIBUTION    180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 WWD-FN
      LLC
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G

2.132 NINE WEST HOLDINGS,       180 RITTENHOUSE CIRCLE     BRISTOL, PA 19007                 WWD-FN
      INC.
                                                                                                                             D
                                                                                                                             E/F
                                                                                                                           X G




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      KASPER GROUP LLC

                         Southern                       New York

              18-10949




  X

  X

  X

  X

  X

  X




            5/21/2018                        /s/ Ralph Schipani




                                             Ralph Schipani


                                             Vice President & Assistant Secretary
